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                         Exhibit X


                         Redacted
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                                                                  Page 1
                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA

   - - - - - - - - - - - - - - - - - - - - - - - -
    Michelle Simha, as
    Trustee for the
    Next-of-Kin of Noah
    Leopold,
                                Civil File No.
                Plaintiff,      24-CV-01097-JRT-DTS

        vs.

     Mayo Clinic,

                    Defendant.

   - - - - - - - - - - - - - - - - - - - - - - - -

               DEPOSITION OF SALAH ALTARABSHEH
                    Volume I, Pages 1 - 213
                         August 12, 2024


        (The following is the deposition of Salah
   Altarabsheh, taken pursuant to Notice of Taking
   Deposition, via video, at Mayo Clinic, Legal
   Department, 100 2nd Street SW, Rochester,
   Minnesota, commencing at approximately 9:00
   a.m., August 12, 2024.)




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 1    APPEARANCES:                                                      1      Shulman.
 2      On Behalf of the Plaintiff:
 3        Brandon Thompson                                              2             THE REPORTER: Okay.
          Bibeane Metsch-Garcia (via Zoom)                              3             MR. THOMPSON: All right.
 4        CIRESI CONLIN LLP
          225 South Sixth Street                                        4             (Witness sworn.)
 5        Suite 4600                                                    5                   SALAH ALTARABSHEH,
          Minneapolis, Minnesota 55402
 6                                                                      6             called as a witness, being first duly
        On Behalf of the Defendant:                                     7             sworn, was examined and testified as
 7
          Andrew Brantingham                                            8             follows:
 8        DORSEY & WHITNEY LLP                                          9                    EXAMINATION
          50 South Sixth Street
 9        Suite 1500                                                   10      BY MR. THOMPSON:
          Minneapolis, Minnesota 55402                                 11           Q. Good morning, doctor.
10
      ALSO PRESENT:                                                    12           A. Good morning.
11                                                                     13           Q. Have you ever had your deposition taken
        Ron Huber, Videographer
12      Anna C. Messerly, Ciresi Conlin                                14      before?
        Maggie Palmisano, Ciresi Conlin (via Zoom)                     15           A. Never in my life.
13      Sheri Peterson, Mayo Clinic
        Michelle Simha (via Zoom)                                      16           Q. All right. So a couple of ground rules
14      Karen Leopold (via Zoom)                                       17      that I want to go over with you to make sure
        Norman Leopold (via Zoom)
15      Jenna Shulman (via Zoom)                                       18      that we get a nice, clean record. Okay?
16                                                                     19           A. Sure.
17              EXAMINATION INDEX
18    WITNESS           EXAMINED BY              PAGE                  20           Q. All right. So the first thing is we've
19    Salah Altarabsheh Mr. Thompson         4                         21      got a court reporter here that's taking down
20
21                                                                     22      everything that's being said. Because of that,
22                                                                     23      it's really important that you wait for me to
23
24                                                                     24      finish asking my question before you give your
25                                                                     25      answer so you're not talking over one another.

                                                            Page 3                                                   Page 5
 1                  PROCEEDINGS                                         1      Can we do that?
 2             THE VIDEOGRAPHER: Good morning. We                       2         A. Sure.
 3      are on the record. Today is August 12th, 2024.                  3         Q. We want to avoid uh-huhs and huh-uhs.
 4      The time is 9:00 o'clock a.m. Today's case                      4      Yeses and nos are better than that. Same with
 5      caption is Simha versus Mayo Clinic. The                        5      shakes and nods. The video will capture that,
 6      witness for today's deposition is Salah                         6      but the court reporter can't, so make sure you
 7      Altarabsheh.                                                    7      give a verbal response. Okay?
 8             At this time the attorneys for the                       8         A. Sure.
 9      various parties will introduce themselves and                   9         Q. If any of my questions are in any way
10      the court reporter will swear the witness.                     10      unclear, will you promise to let me know so I
11             MR. THOMPSON: Brandon Thompson along                    11      can rephrase them and make sure you and I are on
12      with Anna Messerly for the Simha family.                       12      the same page before you give an answer?
13             MR. BRANTINGHAM: Andrew Brantingham on                  13         A. Sure.
14      behalf of defendant and the witness.                           14         Q. Okay. Why don't you tell me what
15             And now that we're on the record, can                   15      you've done to prepare to have your deposition
16      we get a rollcall of who is observing on Zoom                  16      taken.
17      just for the record?                                           17         A. I -- I reviewed all the documents.
18             MR. THOMPSON: Yeah. So you guys go                      18         Q. What documents?
19      ahead and unmute. Oh. So it's --                               19         A. That --
20             I'll just -- I'll just do it. Karen                     20            For that donor and for that recipient
21      Leopold, Norman Leopold, Michelle Simha, and                   21      and -- because it's one year, sir, one year ago.
22      then Maggie Palmisano and Bibi Metsch-Garcia                   22         Q. Sure. There are tens of thousand of
23      from my office are on. And I think Jenna --                    23      pages of documents that we've exchanged back and
24             THE REPORTER: I just admitted Jenna.                    24      forth here, and I'm guessing you didn't review
25             MR. THOMPSON: And Jenna Leopold                         25      tens of thousands of pages of documents.


                                                                                               2 (Pages 2 to 5)
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 1         A. Correct.                                     1   two, three, four-page operative note?
 2         Q. Okay. So let's just kind of go through       2      A. Correct.
 3     and you give me a rundown of what documents you     3      Q. Other than the four-page operative
 4     reviewed to prepare for your deposition.            4   note, did you look at any other part of the
 5         A. Yes. So just -- just to know what I          5   25,000 pages of Noah Leopold's Mayo medical
 6     can recall from that trip for this heart            6   record in preparing for your deposition?
 7     procurement, because that donor -- I had -- I       7      A. That's all.
 8     looked at his documents from the UNOS database      8      Q. All right. Other than the UNOS
 9     and I found everything that I need, and I looked    9   documents, the OCS information, and the
10     through all his numbers on the OCS machine,        10   operative report, --
11     which is the Organ Care System, and I reviewed     11      A. Uh-huh.
12     all the aspects of that, and that's it.            12      Q. -- did you look at any other documents
13         Q. That's in preparation for your              13   as part of preparing to have your deposition
14     deposition.                                        14   taken?
15         A. Yes.                                        15      A. As a preparation also, I met with --
16         Q. So let me see if I'll --                    16   with -- with my legal team as well.
17           I'll kind of repeat it back to you and       17      Q. Yep.
18     summarize it to make sure that we're on the same   18      A. Yes.
19     page.                                              19      Q. And obviously we're not going to talk
20         A. Uh-huh.                                     20   about anything --
21         Q. In preparing for your deposition, you       21      A. Sure.
22     reviewed all of the documents from UNOS about      22      Q. -- you talked about.
23     the donor.                                         23      A. Yeah. Sure.
24         A. Uh-huh.                                     24      Q. But in terms of any other documents,
25         Q. Right?                                      25   you didn't look at anything else.

                                              Page 7                                              Page 9
 1          A. Correct.                                    1       A. No.
 2          Q. You reviewed, you said, the OCS             2       Q. What is your current employment status
 3      numbers. Are you talking about the lactates and    3   with Mayo?
 4      the perfusion parameters?                          4       A. I'm an associate cardiovascular
 5          A. Correct.                                    5   surgeon.
 6          Q. There was an Excel spreadsheet that had     6       Q. Do you practice anywhere other than at
 7      perfusion parameters on it. Did you look at the    7   Mayo currently?
 8      Excel spreadsheet?                                 8       A. No. I'm holding also an academic rank
 9          A. Correct, I looked.                          9   as an assistant professor in surgery.
10          Q. And then there were some printouts of      10       Q. At Mayo?
11      the lactate and the ABG values. Did you look at   11       A. At Mayo --
12      those printouts?                                  12       Q. Got it.
13          A. Yes, I did.                                13       A. -- School of Medicine.
14          Q. Did you look at any other documents as     14       Q. Okay. Is --
15      part of preparing for your deposition?            15          So your employment at Mayo is full
16          A. I looked into the recipient also.          16   time.
17          Q. What documents did you look at --          17       A. Full time.
18          A. I looked to the --                         18       Q. Do you currently live in Rochester?
19          Q. Hold on. Just one sec. Sorry. We           19       A. Yes.
20      can't talk over one another, so just let me       20       Q. Okay. For how long have you worked
21      finish my question.                               21   full time exclusively at Mayo?
22             What documents did you look at with        22       A. Since January 4th, 2022.
23      respect to Mr. Leopold?                           23       Q. Do you do transplants?
24          A. Yeah. The operative notes.                 24       A. I do procure hearts and lungs and help
25          Q. And that's Dr. Villavicencio's one,        25   in the transplant surgery.


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 1          Q. When you say you help in the transplant      1   something else. Okay?
 2      surgery, tell me what that means.                   2      A. Uh-huh.
 3          A. Assist in the surgery.                       3      Q. Are you with me?
 4          Q. Have you ever been the primary surgeon       4      A. Yes.
 5      on a heart transplant?                              5      Q. How much of your professional time is
 6          A. No.                                          6   spent on the procurement bucket?
 7          Q. Do you do other sorts of cardiac             7      A. Ninety-five percent.
 8      surgery other than act as the first assistant on    8      Q. There are other procurement surgeons
 9      transplants?                                        9   that work for Mayo; is that right?
10          A. Can you repeat this question, please?       10      A. Correct.
11          Q. Yeah. As part of your practice here at      11      Q. And let's stick just with heart and
12      Mayo, --                                           12   lung now, not liver and kidney and things like
13          A. Yes.                                        13   that. How many other procurement surgeons are
14          Q. -- do you do other types of cardiac         14   there in the Cardiovascular Department at Mayo?
15      surgery other than assisting on transplants?       15      A. It's --
16          A. I sometimes assist in regular cardiac       16         Officially we're having other two than
17      surgery, I mean the cardiac surgery kind of        17   me.
18      procedures.                                        18      Q. Doctor --
19          Q. Do you ever act as the primary surgeon      19         Is it Knop or Knop?
20      for any cardiac procedures at Mayo?                20      A. Knop.
21          A. At Mayo?                                    21      Q. Dr. Knop would be one of them.
22          Q. Yes.                                        22      A. Yes.
23          A. No.                                         23      Q. Who is the other one?
24          Q. Do you assist on lung transplants, or       24      A. Dr. Fuad Al-Azzam
25      just heart transplants?                            25      Q. My understanding is that at some

                                             Page 11                                                 Page 13
 1        A. Lung and heart transplants, both.              1   institutions that do transplants, the
 2        Q. In your practice before you came to            2   institution will send fellows to do the
 3     Mayo, were you ever the primary surgeon for a        3   procurement. Does Mayo do that?
 4     heart transplant?                                    4       A. Mayo send the associate surgeons to do
 5        A. No.                                            5   the transplant --
 6        Q. I gather from looking at your CV that          6       Q. To procure the organ.
 7     you were the primary surgeon on other types of       7       A. -- to pro -- I'm sorry -- to procure
 8     cardiac surgery before you came to Mayo.             8   the organs, sorry, but sometimes they are
 9        A. Correct.                                       9   sending the fellows to help the -- the associate
10        Q. Why aren't you doing --                       10   surgeon.
11           Why aren't you acting as the primary          11       Q. Fair enough.
12     surgeon on cases at Mayo now?                       12          So if I'm understanding you correctly,
13        A. Because my job description here is an         13   for any heart/lung transplant that is performed
14     associate cardiac surgeon, and the associate        14   here at Mayo Rochester, either you, Dr. Knop, or
15     cardiac surgeon is doing the procurement for the    15   the other doctor who I didn't write down will be
16     hearts and lungs.                                   16   going to procure the organ.
17        Q. What percentage of your practice is           17       A. That's correct.
18     spent procuring hearts and lungs for transplant?    18       Q. And maybe it will be more than one of
19        A. Most of my -- my job duties are on            19   the three of you, and maybe there will be a
20     procurements.                                       20   fellow, but it's always going to be one of the
21        Q. Okay. So I'm going to divide your             21   three of you.
22     practice into two buckets; one would be going to    22       A. That's correct.
23     procure organs for somebody else to transplant      23       Q. How many procurement runs do you think
24     them, the other bucket would be assisting on        24   you've gone on this year?
25     cardiac surgery, whether it's transplant or         25       A. I did, in total, 180.


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 1            (Interruption by reporter.)                  1   rough numbers?
 2         Q. Is that --                                   2       Q. The best number you can give me is what
 3         A. In total since I came here.                  3   I'm looking for.
 4            Sorry to interrupt you.                      4       A. Yes. I can give you --
 5         Q. No. Perfect. That's great.                   5          MR. BRANTINGHAM: Are you asking in
 6         A. But this year I did 53 procurements,         6   total or per year?
 7      and that included lungs and hearts.                7          MR. THOMPSON: Yeah. Good --
 8         Q. Can you give me a sense of what the          8       Q. Well is there a difference between
 9      breakdown is between hearts and lungs?             9   overall total or per year? Has -- has there
10         A. It's a rough estimate, half and half.       10   been more use of the OCS recently than there
11         Q. Sometimes you're going to take the          11   was, say, in 2022?
12      heart and the lung.                               12       A. Of course 2022 we get -- started the
13         A. And sometimes we take heart-lung block.     13   OCS, I can recall, after, you know, April or May
14         Q. Right. Of those 53, do you have any         14   something. But we did late -- in the late 2022
15      sense of how many would have been a heart-lung    15   more OCS, and 2023 we did more and, of course,
16      block?                                            16   2024. So that's -- that's the -- the numbers
17         A. Can I give you a rough estimate, or do      17   for those, yes.
18      you need the accurate number?                     18       Q. Okay. So let's -- let's just try to --
19         Q. No. Your best estimate would be fine.       19   try to go back and do our best estimate. So now
20         A. Best estimate. Okay.                        20   here's what I want to do.
21            Best estimate, two to three a year          21       A. Uh-huh.
22      heart-lung.                                       22       Q. I want to stick just with hearts.
23         Q. And then roughly half and half hearts       23       A. Okay.
24      and lungs out of the other 50.                    24       Q. So in 2022, give me your best estimate
25         A. That's correct.                             25   of how many hearts you procured.


                                             Page 15                                                Page 17
 1          Q. Was that the case roughly in 2023 and       1       A. I can't recall that -- I mean the right
 2      2022?                                              2   estimate, but I can tell you it's around ten
 3            MR. BRANTINGHAM: Object to the form.         3   cases in 2022, you know, eight to ten, something
 4      Was what -- what the case?                         4   like that.
 5          Q. Roughly half between hearts and lungs?      5       Q. How about in 2023? Just hearts.
 6          A. You mean how many hearts, how many          6       A. Let's say 12 to 15.
 7      lungs?                                             7       Q. And so far in 2024? How many hearts so
 8          Q. Yeah. So in 2024 --                         8   far just in 2024?
 9          A. Okay.                                       9       A. An estimate?
10          Q. -- you told me that so far in 2024         10       Q. Yes.
11      about half of your procurements have been         11       A. A rough estimate?
12      hearts, and about half of them have been lungs,   12       Q. Yep. Absolutely.
13      and maybe a couple of heart-lung blocks           13       A. Yes. Let's --
14      interspersed in there. Right?                     14          Eight cases.
15          A. Correct.                                   15       Q. All right. Now let's go back to 2022.
16          Q. In 2023, was it also roughly 50 percent    16       A. Uh-huh.
17      heart, 50 percent lung?                           17       Q. Of the --
18          A. I mean I cannot say it's 50 absolutely.    18          I know these are estimates. We're not
19      It's roughly.                                     19   holding you to a specific number. I know these
20          Q. Yeah.                                      20   are --
21          A. Yes, that applies to 2023 and that         21       A. Okay. That's all right. That's all
22      applies to 2022.                                  22   right.
23          Q. Do you have a sense of how many of         23       Q. Of -- of your best estimate, ten hearts
24      those procurements used the OCS?                  24   that you procured in 2022, how many of them were
25          A. Again, do you need accurate numbers or     25   on the OCS?


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 1         A. That's what I'm telling you, about the       1       A. Yes, I did.
 2      OCS.                                               2       Q. Where is it?
 3         Q. So it's ten OCS hearts in 2022.              3       A. I have it. I can forward to anyone if
 4         A. Yeah. Eight to ten I tell -- I told          4   you -- if you need that.
 5      you.                                               5       Q. Great.
 6         Q. Perfect.                                     6       A. Sure. I can provide you today.
 7         A. Yeah. Yeah.                                  7       Q. No, that's -- I --
 8         Q. I was going to --                            8          MR. BRANTINGHAM: We can follow up on
 9            The numbers seemed a little bit off to       9   it after.
10      me, so I was going to go back to it.              10          MR. THOMPSON: Yep. We'll follow up on
11         A. Exactly. Yes.                               11   it.
12         Q. So about ten OCS hearts in 2022, maybe      12       Q. You have it and that's great.
13      12 to 15 OCS hearts in 2023, maybe eight OCS      13          When did you do your OCS training?
14      hearts in 2024.                                   14       A. It was in July 2022.
15         A. These are rough estimates.                  15       Q. Did you go to Boston to do that?
16         Q. Got it.                                     16       A. Yes.
17         A. The current --                              17       Q. How long is the training?
18            The plus/minus, small digits.               18       A. It was two days.
19         Q. Understood.                                 19       Q. As part of that training, did they
20         A. Yes.                                        20   train you on all aspects of the OCS?
21         Q. Yep. I understand.                          21       A. Yes.
22         A. But --                                      22          MR. BRANTINGHAM: Object to the form of
23         Q. What I --                                   23   the question.
24            Go ahead. Sorry.                            24       Q. One of the things that's done while the
25         A. I'm sorry. I want to make sure these        25   heart is on OCS is the use of the blood gas


                                            Page 19                                                 Page 21
 1     are OCS, not hearts, because the number of heart    1   analyzer; right?
 2     procurements are much more.                         2      A. That's correct.
 3         Q. Absolutely.                                  3      Q. Were you trained in how to use the
 4         A. Yes.                                         4   blood gas analyzer?
 5         Q. Absolutely. Not every heart you              5      A. Can you clarify your question more?
 6     procure is on the OCS.                              6   Because when you are asking about this, about
 7         A. That's correct.                              7   the arterial blood gases, there are aspects who
 8         Q. The majority of the hearts you procure       8   will take the arterial blood gases, how to send
 9     are not on the OCS; is that right?                  9   them to -- to put them on the machine, there are
10         A. That's right.                               10   multiple aspects. So can you be more specific?
11         Q. Would I be correct in assuming that         11      Q. Yeah. No, that's fair. Let me -- let
12     most of the OCS hearts you need to fly?            12   me take a step back and ask a broader question
13         A. That's correct.                             13   and maybe we can kind of get to this.
14         Q. Would it be all of them or just most of     14      A. Sure.
15     them?                                              15      Q. My understanding is that when a
16         A. From the ones that we did, all of them      16   procurement team from Mayo goes to get an OCS
17     that we need to fly.                               17   heart, there's a number of different people who
18         Q. Did you receive training from               18   go on that run; right?
19     TransMedics on the use of the OCS?                 19      A. Correct.
20         A. Yes, I did.                                 20      Q. There's at least one procurement
21         Q. One of the things we asked for in           21   surgeon; yes?
22     discovery was training certificates from           22      A. Correct.
23     TransMedics for a number of different people.      23      Q. Then there's also at least one -- is it
24     Do you have a certificate of completing your       24   an OCS specialist?
25     training?                                          25      A. Yes.


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 1          Q. Who else is on the team?                   1   him is a perfusionist, right, the correct name
 2          A. Now you're talking about at least, at      2   for him?
 3      least one.                                        3       Q. I think that's right.
 4          Q. Okay. So at least one surgeon, at          4       A. Yes. Okay. Okay.
 5      least one OCS specialist.                         5       Q. He's getting deposed next, so we'll
 6          A. Yes.                                       6   find out for sure. But your understanding is
 7          Q. Are -- are there some OCS heart runs       7   he's a perfusionist.
 8      where that's the only two people who go on the    8       A. Yes, that's correct.
 9      run?                                              9       Q. Would I be correct then in assuming
10          A. Only two?                                 10   that the minimum number of people on the team
11          Q. Yeah.                                     11   that will go to procure an OCS heart is three?
12          A. Can you -- can you explain your --        12       A. That's correct.
13            I cannot get your question perfectly.      13       Q. Sometimes there's more than one
14          Q. No, that's fair. That's fair.             14   surgeon, but not always.
15            I know that there were four people that    15       A. Not always, yes, but most of the time,
16      went to get the donor heart that was attempted   16   two surgeons.
17      to be transplanted in Mr. Leopold; right?        17       Q. Why?
18          A. Okay.                                     18       A. Because of the OCS machine, it needs,
19          Q. You, Dr. Knop, Danielle Fay, and          19   you know, needs technical surgical -- I mean
20      Michael Pick; right?                             20   techniques that -- two surgeons make the
21          A. Okay.                                     21   procedure easier.
22          Q. Was there anybody else on the             22       Q. Understood.
23      procurement team in this case?                   23       A. Uh-huh.
24          A. I can't recall anyone else.               24       Q. Okay. So now back to the question that
25          Q. Okay. On that -- on that run, --          25   got us here in the first place. My

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 1         A. Uh-huh.                                     1   understanding is that with respect to the OCS
 2         Q. -- on the -- we're talking about in --      2   machine, there are some jobs that are being
 3      specifically for this case, --                    3   performed by the OCS specialist and not by the
 4         A. Yes.                                        4   surgeon; like, for example, putting the lactates
 5         Q. -- were both Michael Pick and Danielle      5   into the database; right?
 6      Fay considered OCS specialists?                   6       A. Correct.
 7         A. Danielle, yes. And the other name?          7       Q. You're not doing stuff like that.
 8         Q. Michael Pick.                               8       A. No.
 9         A. Michael Pick is the perfusionist.           9       Q. Once the heart is on the OCS, --
10         Q. He's a perfusionist.                       10       A. Uh-huh.
11         A. Yes.                                       11       Q. -- what's your job?
12         Q. Is there always a perfusionist that        12          MR. BRANTINGHAM: Object to the form of
13      goes on an OCS heart procurement run?            13   the question. Go --
14         A. Perfusionist is always available for       14          If you understand it, doctor, go ahead.
15      the heart and lungs regardless it is an OCS or   15       A. Can you clarify more your question?
16      non-OCS.                                         16   You mean there are stages when we put the heart
17         Q. What do you mean when you say they're      17   on the machine. I mean we put it at the donor
18      always available?                                18   site, --
19         A. Always come with us.                       19       Q. Yep.
20         Q. Always come with. Okay.                    20       A. -- we transfer it to the airport, we --
21         A. Yes. And the --                            21   then we are in the airplane, --
22         Q. So the --                                  22       Q. Uh-huh.
23            Oh, go ahead.                              23       A. -- and then we down from the airport to
24         A. I'm sorry. Just to clarify, what you       24   the hospital, --
25      mean Michael Pick, the -- the description for    25       Q. Yep.


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 1         A. -- and then, you know, at the operative       1       A. Yes.
 2      surgical theater.                                   2       Q. And in the pre-OCS days, --
 3         Q. Understood.                                   3       A. Uh-huh.
 4         A. So there are different things.                4       Q. -- the way that the standard procedure
 5         Q. All right. Well let's -- let's ask            5   worked is that once the heart, the donor heart,
 6      some broader questions then.                        6   landed at the airport and was on the ground, --
 7         A. Yes.                                          7       A. Uh-huh.
 8         Q. First of all, as the procurement              8       Q. -- somebody called back to the
 9      surgeon, is it your job to determine whether the    9   hospital, told the transplant team we're on the
10      donor heart is a suitable heart to be              10   ground, and then the transplant team took out
11      transplanted?                                      11   the recipient's heart; right?
12         A. A decision?                                  12       A. Uh-huh.
13         Q. Yes.                                         13          MR. BRANTINGHAM: Object to the form
14         A. The decision, we -- we usually, when we      14   and foundation.
15      assess the donor, you know, we give the full       15       Q. Is that --
16      picture to the transplant surgeon.                 16          MR. BRANTINGHAM: Are you asking at
17         Q. But the transplant surgeon doesn't see       17   Mayo? Or are you asking in the world?
18      the heart. Only you see the heart; right?          18          MR. THOMPSON: I'm asking in his
19         A. That's correct.                              19   experience.
20         Q. And in fact, in this case the                20          MR. BRANTINGHAM: Well just hold on one
21      transplant surgeon didn't have an opportunity to   21   second. Yeah. I'll object to the form and the
22      actually look at the donor heart until Noah        22   foundation. If you're able, doctor, you can
23      Leopold's heart had already been explanted from    23   answer.
24      his body; right?                                   24       A. Because your question is so broad to
25            MR. BRANTINGHAM: Object to form and          25   tell you. You are asking me not about this


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 1     foundation.                                          1   donor or about this donor?
 2        A. Do you want me to answer this question?        2      Q. Okay. Were you involved in transplants
 3        Q. Well you read the operative report;            3   before you started working at Mayo?
 4     right?                                               4      A. Before?
 5        A. Yes, I read. I read, yes.                      5      Q. Yes.
 6        Q. Okay. Is it your understanding that            6      A. No.
 7     Noah Leopold's heart was still in his chest when     7      Q. Okay. So then when we talk about your
 8     the donor heart arrived in the operating room?       8   experience with transplant surgery, it's only at
 9           MR. BRANTINGHAM: Object to foundation.         9   Mayo; right?
10           MR. THOMPSON: I'm asking him if that's        10      A. Okay. Yes.
11     his understanding.                                  11      Q. Am I right about that?
12           MR. BRANTINGHAM: I understand what            12      A. Yes.
13     you're asking. I'm objecting to foundation.         13      Q. All right. So let's talk about your
14           Doctor, if you know the answer to the         14   experience at Mayo.
15     question, you can answer it.                        15      A. Yes.
16        A. Can you clarify more -- more -- your          16      Q. You told me that one of the parts of
17     question more?                                      17   the procurement run is the heart's got to get
18        Q. Yeah. Let me take a step back.                18   into the operating room; right?
19     Sometimes --                                        19      A. Yes.
20           Well let's go back in the pre-OCS days.       20      Q. The donor heart has to get into the
21        A. Okay.                                         21   operating room; correct?
22        Q. You were involved in transplants before       22      A. Correct.
23     OCS was a thing; right?                             23      Q. Now do you accompany the donor heart
24        A. Yeah. I mean before the OCS. Okay.            24   into the operating room? Have you ever done
25        Q. Yeah.                                         25   that?


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 1      A. It's all the time.                          1       Q. And the recipient's heart gets
 2      Q. Okay. Have there been times when            2   explanted while the donor heart is on its way to
 3   you're accompanying the donor heart into the      3   the hospital, and by the time you get there, the
 4   operating room and the native heart, the          4   native heart has been removed. You've seen that
 5   recipient's heart, has already been explanted     5   happen before; right?
 6   when you show up with the donor heart?            6       A. I can recall, yes.
 7      A. You mean when the heart is in the room,     7       Q. With respect to this case, you're
 8   the donor heart in the room, you mean whether     8   telling me you don't remember?
 9   the heart is explanted from the recipient or      9       A. I can't remember.
10   not, that's your question?                       10       Q. Okay. In reviewing the operative
11      Q. My question is: When you bring the         11   report, do you have a belief as to whether Noah
12   donor heart into the operating room, --          12   Leopold's native heart was removed by the time
13      A. Yes.                                       13   the donor heart arrived?
14      Q. -- have there been times when the          14          MR. BRANTINGHAM: Object to foundation.
15   recipient's native heart has already been        15       A. Say it again. Say it again.
16   explanted by the time you arrive?                16       Q. You've read the operative report --
17      A. For this donor or different donor?         17       A. Uh-huh.
18      Q. I'm asking: Has -- does that ever          18       Q. -- and it's detailed; right?
19   happen?                                          19       A. Uh-huh. Okay.
20      A. I can't recall for this donor in           20       Q. Yep. And you've worked with Dr.
21   particular, but --                               21   Villavicencio many times; right?
22      Q. That's not my question.                    22       A. Yes.
23      A. -- but in general -- in general,           23       Q. Right? So you know the way he
24   sometimes, yes, but not before I mean being in   24   practices?
25   Rochester, you know.                             25       A. Yes, I do.


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 1       Q. And I think we're on the same page         1      Q. Okay. How many transplant surgeons are
 2   about this.                                       2   there at Mayo? Is it Villavicencio, Daly, and
 3       A. Yes.                                       3   Spencer?
 4       Q. The way that it works, --                  4      A. Because there are many transplants at
 5       A. Uh-huh.                                    5   Mayo.
 6       Q. -- in your experience, --                  6      Q. Heart transplants.
 7       A. Uh-huh.                                    7      A. You're specific. Yes.
 8       Q. -- is that the heart lands successfully    8         So we're having Dr. Daly, Dr.
 9   in Rochester.                                     9   Villavicencio, and Dr. PJ Spencer.
10       A. Yes.                                      10      Q. Yep.
11       Q. Because we don't --                       11      A. Yes.
12         I mean planes can crash.                   12      Q. Okay.
13       A. Yes.                                      13      A. Yes.
14       Q. Right? We want to make sure the heart     14      Q. Three transplant surgeons doing heart
15   is in Rochester.                                 15   transplants.
16       A. Uh-huh.                                   16      A. Yes.
17       Q. And now the heart is on its way from      17      Q. Okay. So with respect to
18   the airport to St. Mary's; --                    18   Villavicencio, do you have an opinion -- and if
19       A. Uh-huh.                                   19   you don't, that's fine, just tell me that --
20       Q. -- right?                                 20      A. Uh-huh.
21       A. Uh-huh.                                   21      Q. -- as to whether he took Noah Leopold's
22       Q. Yes? You got to say yes.                  22   heart before this heart got into the operating
23       A. Yes. Yes.                                 23   room?
24       Q. You're with me.                           24         MR. BRANTINGHAM: Object to foundation
25       A. Yes.                                      25   and form.


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 1      A. I can't recall.                               1   not, we assess if there is any anomaly of the
 2      Q. I know you can't recall.                      2   heart, we assess if there is any injury in the
 3      A. Uh-huh.                                       3   heart regarding the -- the reason for death for
 4      Q. Do you have an opinion one way another?       4   that donor -- for any donor, I mean, and then we
 5   And if you don't, that's fine.                      5   transfer the whole picture to the transplant
 6      A. I don't.                                      6   surgeon.
 7         MR. BRANTINGHAM: Same objection.              7       Q. When you say you assess the
 8      Q. Okay.                                         8   hemodynamics, are you talking about looking at
 9         MR. BRANTINGHAM: Doctor, just make            9   the echo?
10   sure you take a second so that I can get the       10       A. Blood pressure, heart rate, respiratory
11   objection in --                                    11   rate, these are the hemodynamics that we assess.
12         THE WITNESS: Okay.                           12       Q. Presumably the ejection fraction is
13         MR. BRANTINGHAM: -- and then answer.         13   important?
14         THE WITNESS: Okay. Sure.                     14       A. These are part of the echo assessment
15         MR. BRANTINGHAM: Just take a little          15   of the heart.
16   breath.                                            16       Q. Do you look at the echo as part of
17         THE WITNESS: Sure.                           17   doing your assessment of the heart?
18   BY MR. THOMPSON:                                   18       A. Of course.
19      Q. All right. So the series of questions        19       Q. Do you do that before you leave
20   that got us going here had to do with your job     20   Rochester, or once you get to the donating
21   when it comes to the procurement of the organ.     21   institution?
22         Now you are the first person from the        22       A. Before we leave from here.
23   Mayo team that has a chance to look visually at    23       Q. Do you review the UNOS records before
24   the donor heart; right?                            24   you leave Rochester?
25         MR. BRANTINGHAM: Are you asking this         25       A. Yes, we do.


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 1   case or in general?                                 1        Q. Can you and I agree that the size of a
 2         MR. THOMPSON: Well in general.                2   heart is an important part of assessing whether
 3      A. Visually.                                     3   it is suitable to be transplanted?
 4      Q. Yeah.                                         4        A. Yes.
 5      A. Yes.                                          5        Q. Do you have kind of a cutoff parameter
 6      Q. And so one of the most important parts        6   in terms of when a heart is too undersized or
 7   of your job as the procuring surgeon is to first    7   too oversized compared to the recipient?
 8   make an assessment of, yeah, this looks like a      8          MR. BRANTINGHAM: Object to the form,
 9   heart that we could transplant, or no, we're not    9   foundation. Are you asking --
10   going to transplant this heart; right?             10          When you say "you," are you asking him
11      A. We usually --                                11   personally?
12         This is the way, whether we accept or        12          MR. THOMPSON: Yeah. I don't know how
13   turn down the organ, we assess the heart and       13   else I could mean "you," but yes.
14   give the full picture to the transplant surgeon.   14          MR. BRANTINGHAM: Well it could mean as
15      Q. What do you mean when you say "the full      15   an institution, et cetera, --
16   picture?" What information are you giving them?    16          MR. THOMPSON: Sure.
17      A. Yes, we assess the heart. I mean --          17          MR. BRANTINGHAM: -- so --
18      Q. I don't know what that means.                18        Q. When I say "you," I mean you. And if
19      A. Visual. Visual assessment of the             19   I'm talking about Mayo, I'll say "Mayo." Okay?
20   heart.                                             20        A. Okay.
21      Q. Okay.                                        21        Q. All right.
22      A. Then we palpate the coronary arteries,       22        A. So the selection committee, for the
23   we palpate the pulmonary artery, we palpate the    23   donors they are taking, and this is out of my --
24   aorta, and we assess the hemodynamics of the       24   my -- I mean role.
25   heart, we see if the heart is on inotropes or      25        Q. Assessing the size is outside of your


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 1   role?                                               1       Q. Okay. Do you remember this
 2       A. No. I'm looking, but the selection           2   procurement?
 3   committee are the ones that, you know, choose       3       A. I can recall part of them, but --
 4   the right donor for the right recipient.            4       Q. Okay.
 5       Q. Okay. So if you see a heart and you          5       A. -- part of it, but the whole event --
 6   say, boy, his heart looks really oversized, do      6       Q. Okay. Do you remember where you went
 7   you say something?                                  7   to procure this heart?
 8       A. When we visually assess?                     8       A. Idaho, I believe.
 9       Q. Yeah.                                        9       Q. Huh?
10       A. We give this idea to the transplant         10       A. Idaho.
11   surgeon, that this is -- the heart is small,       11       Q. Idaho. Yep. Uh-huh.
12   it's big, I mean whatever we find, we give this    12         All right. You know that there have
13   whole picture to the transplant surgeon.           13   been -- well maybe you don't.
14       Q. You do that via a phone call?               14         Do you know that there have been some
15       A. Yes.                                        15   text messages produced in this case?
16       Q. Okay. Do you communicate the                16       A. Between me?
17   information about your overall assessment of the   17       Q. No, between other people. Not you.
18   potential donor heart in any way other than        18   There's no text from you.
19   through a phone call?                              19       A. Yeah.
20       A. You mean this heart or in general?          20       Q. Did you know that there were text
21       Q. No. In general.                             21   messages produced in this case that have to do
22       A. Yes. So first communication between         22   with this case?
23   two of the surgeons, you know, between me and      23       A. Yes. I make sure in that -- in that
24   the other surgeon or the other surgeon or me,      24   case and in any case that, you know, the
25   that --                                            25   information passed from me that the heart is

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 1      Q. You're talking about the transplant           1   okay and it's good to take to the transplant
 2   surgeon?                                            2   surgeon, and the perfusionist will, you know,
 3      A. No. First the procuring, I mean when          3   say okay -- I mean, yes, transfer this
 4   we are at the donor site.                           4   information to the transplant surgeon.
 5      Q. You and Dr. Knop.                             5       Q. I get that. We'll get into that. That
 6      A. Yes. That this heart -- you know, we          6   wasn't my question.
 7   assess -- we give two assessment between, you       7       A. Uh-huh.
 8   know, and -- and then we transfer this to the --    8       Q. My question was: Are you aware of the
 9   to the transplant surgeon.                          9   fact that there are text messages about this
10      Q. Via phone call.                              10   case that have been produced in the course of
11      A. Via phone call.                              11   this lawsuit?
12      Q. Ever send a text?                            12       A. I can't recall, I mean, there were
13      A. I can't recall in this -- in this -- in      13   messages. Can you --
14   this donor in particular, but sometimes when we    14       Q. No.
15   are, you know, in the -- in the OR, they are       15          MR. BRANTINGHAM: He may not understand
16   scrubbing, you know, we transfer the whole         16   what you mean by "produced" --
17   information, you know, either the -- the           17          MR. THOMPSON: Yeah. And that's fair.
18   perfusionist open the phone for us -- open the     18          MR. BRANTINGHAM: -- in this context.
19   phone for us --                                    19       Q. So one of the things that happens in a
20      Q. Okay. I'm listening.                         20   lawsuit --
21      A. -- open the phone for us, or he pass         21       A. Uh-huh.
22   this piece of information to the -- that the       22       Q. -- is the lawyers get to send requests
23   heart is good and no -- no problems.               23   for production --
24      Q. Uh-huh.                                      24       A. Oh.
25      A. Uh-huh.                                      25       Q. -- back and forth to -- hold on --


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 1   surgeon. Correct?                                   1       Q. Great.
 2       Q. Yeah. Because I thought you told me --       2         Is an important part of your job
 3   and maybe I'm wrong, Mr. Brantingham thinks I'm     3   palpating the vessels, as you described for us
 4   wrong and that's fine, there's lot of things        4   in some detail maybe about 20 minutes ago?
 5   that he'll -- he's going to think I'm wrong         5       A. Yes.
 6   about over the course of these next few days --     6       Q. Is an important part of your job
 7   I thought you told me that one of the parts of      7   looking to see if there are any anomalies on the
 8   you doing your job as the procurement surgeon is    8   heart?
 9   that you do this global assessment of the           9       A. Yes.
10   overall picture of the heart where you're          10       Q. Is an important part of your job
11   looking -- visually looking at it and you're       11   looking to see if there are any signs of an
12   palpating the vessels and you're assessing the     12   injury to the heart, like bruising?
13   hemodynamics and you're looking for anomalies      13       A. Yes.
14   and you're looking for injuries and you're doing   14       Q. Bruising doesn't show up on an echo;
15   a bunch of really careful stuff; right?            15   does it?
16       A. Right.                                      16       A. It may show.
17       Q. And you're supposed to do that in every     17       Q. Yeah. Often it doesn't; does it?
18   one of these cases where you go to procure a       18         MR. BRANTINGHAM: Object to the form.
19   heart; right?                                      19   If you able, doctor.
20       A. Right.                                      20       Q. Do you not know?
21       Q. Because you are, in that instance, the      21         MR. BRANTINGHAM: Well hold on a
22   eyes of the transplant surgeon because the         22   second.
23   transplant surgeon doesn't see the heart, the      23       Q. My --
24   transplant surgeon doesn't palpate the heart;      24         MR. BRANTINGHAM: Let him ans -- let
25   right?                                             25   him answer the question you asked.


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 1         MR. BRANTINGHAM: Object to the form,          1          MR. THOMPSON: Well he wasn't, he was
 2   foundation.                                         2   just shaking his head and kind of shrugging his
 3       A. The transplant surgeon does have an          3   shoulders.
 4   idea about this heart by the echo and the           4          MR. BRANTINGHAM: Well just let him --
 5   catheterization.                                    5       A. I'm --
 6       Q. None of that was my question. We've          6          MR. BRANTINGHAM: -- give him the
 7   got to stick with my questions.                     7   chance to answer.
 8       A. Uh-huh.                                      8          MR. THOMPSON: I -- I was.
 9       Q. My question was: The transplant              9          MR. BRANTINGHAM: You didn't. You then
10   surgeon doesn't actually have an opportunity to    10   asked another question. If you want an answer
11   look at the heart, only you can do that; right?    11   to the question which was -- if we can read it
12         MR. BRANTINGHAM: Object to the               12   back. Go ahead.
13   foundation and form.                               13          (Record read by the reporter.)
14       A. You say visually?                           14          MR. BRANTINGHAM: No, the one before
15       Q. Yeah. Is that part of --                    15   that.
16         Is that an important part of your            16          THE REPORTER: Okay.
17   assessment as the procuring surgeon, to actually   17       Q. I'll reask the question. Because the
18   visually look at the heart?                        18   question before that was I asked you if echos --
19         MR. BRANTINGHAM: Object to the form.         19   if bruising would show up on echos, you said
20       Q. That's my question. And it seems            20   sometimes it will, and I said most of the time
21   pretty obvious to me, but you can answer. Is an    21   it doesn't, and you shrugged your shoulders. Do
22   important part of your job, as the procuring       22   you have an answer to that?
23   surgeon who is assessing this heart, looking at    23          MR. BRANTINGHAM: You said often. You
24   it?                                                24   said often it doesn't.
25       A. Yes.                                        25       Q. Do you have an answer?


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 1          MR. BRANTINGHAM: If you can answer           1   that day.
 2   with often, go ahead.                               2      Q. My question is: Do you think that you
 3       A. So your question is does the bruises         3   actually spoke to Dr. Villavicencio about this
 4   show in the -- in the -- on the echo or not?        4   heart before you left Idaho?
 5       Q. The exact question was, --                   5      A. Before?
 6       A. Uh-huh.                                      6      Q. Yes. Before you left Idaho.
 7       Q. -- to Mr. Brantingham's point, often --      7      A. I can't recall.
 8       A. Uh-huh.                                      8      Q. Do you think you should have?
 9       Q. -- bruising will not show up on              9      A. The --
10   echo; --                                           10          My role is to communicate.
11       A. Uh-huh.                                     11      Q. To the transplanting surgeon?
12       Q. -- isn't that true?                         12      A. Yes.
13       A. I mean I'm a surgeon, you know, and         13      Q. Right. I understand that. That is
14   I -- I don't think that's something that they      14   your role.
15   are often shown in the echo actually.              15          So my question is: Can't you agree
16       Q. Right. Okay.                                16   that you should be having a direct conversation
17       A. Yeah.                                       17   with the transplanting surgeon?
18       Q. The -- the over --                          18          MR. BRANTINGHAM: Object to the form
19       A. But if -- if there is --                    19   and the foundation. You can answer if you're
20       Q. Go ahead.                                   20   able, doctor.
21       A. -- an echo specialist that can see,         21      A. I believe there should be a type of --
22   that's something different, but I don't think      22   the information should be passed to the surgeon
23   that's something common, I mean, to be assessed    23   in -- in --
24   by the echo.                                       24      Q. What information?
25       Q. Sure. The overall point here is there       25      A. The best one and the best informant of


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 1   are lots of pieces of your assessment beyond        1   that, we are in the same -- the procurement
 2   just looking at the echo; right?                    2   surgeon -- surgeons and the transplant surgeon
 3      A. Uh-huh.                                       3   is a real visual -- vision of the heart, --
 4      Q. Yes?                                          4       Q. Uh-huh.
 5      A. Yes.                                          5       A. -- and that happened. There was a
 6      Q. And the echo is available to the              6   video, if you are aware of, of the heart in the
 7   transplanting surgeon, but not the visual and       7   OCS machine.
 8   physical assessment that you are performing at      8       Q. Yep.
 9   the donor institution; right?                       9       A. Yes.
10      A. Yes.                                         10       Q. Yep.
11      Q. Now that sort of information, here's         11       A. That's --
12   what I found when I palpated the vessels, here's   12       Q. None of that was my question, but
13   what the hemodynamics look like, here's just       13   that's okay.
14   overall visually what the heart looks like,        14       A. That's -- that's a type -- that's a
15   those are the sorts of things that you're          15   very good type of communication, because what
16   supposed to be communicating back to the           16   you see is what we -- what we see. What you
17   transplanting surgeon on a phone call; right?      17   see, what we see.
18      A. Right.                                       18       Q. Unless I'm mistaken, Dr. Villavicencio
19      Q. Okay. So now back to this text-message       19   doesn't have the ability to reach through the
20   question. First of all, do you think you had       20   video and palpate those vessels; does he?
21   that phone call with Dr. Villavicencio about       21       A. That's correct.
22   this heart?                                        22       Q. Only you can do that; right?
23      A. I can't recall the method of                 23          MR. BRANTINGHAM: You can answer that
24   communication was, but it was sure there was a     24   question. Go ahead --
25   method of communication between -- with Dr. V      25       A. On the donor?


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 1          MR. BRANTINGHAM: -- if you're able.          1       A. Yes.
 2       Q. Yeah.                                        2       Q. Can you and I agree that the standard
 3       A. Yes.                                         3   of care requires the procuring surgeon to
 4       Q. Now we've got the video.                     4   actually have a conversation with the transplant
 5       A. Uh-huh.                                      5   surgeon about whether this heart is suitable?
 6       Q. The video only shows one side of the         6          MR. BRANTINGHAM: Object to foundation.
 7   heart; right?                                       7   You can answer if you're able.
 8       A. Uh-huh.                                      8       A. There should be a communication between
 9       Q. Right? Yes? You got to say yes out           9   the procurement surgeon and the transplant
10   loud for the record.                               10   surgeon.
11       A. The video is a three dimensional, you       11       Q. Okay. But in your view it would be
12   know.                                              12   enough for that communication to be third hand
13       Q. The video is not three dimensional.         13   from the perfusionist, "Salah said Heart looks
14   The video is --                                    14   good" and that's it.
15          MR. BRANTINGHAM: I think we'll              15          MR. BRANTINGHAM: I'll object to the
16   stipulate the video is the video, Brandon.         16   form, argumentative. That doesn't remotely --
17          MR. THOMPSON: No, I understand that,        17          MR. THOMPSON: Okay. I'm going to ask
18   and we're going somewhere with this.               18   it a different way.
19       Q. The video is two dimensional.               19          MR. BRANTINGHAM: Hang on a second.
20       A. It is --                                    20   That doesn't remotely resemble what he said.
21       Q. It is flat on a computer screen; right?     21   You're now just putting --
22          MR. BRANTINGHAM: Just wait for the          22          MR. THOMPSON: It does.
23   question, doctor.                                  23          MR. BRANTINGHAM: You're putting words
24       Q. We're not in virtual reality here. It       24   into his mouth.
25   is a two-dimensional shot of that heart in a box   25          MR. THOMPSON: Andrew, stop.


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 1   behind plexiglas in plastic; right?                 1          MR. BRANTINGHAM: No, seriously.
 2         MR. BRANTINGHAM: Object to the form.          2          MR. THOMPSON: Make your -- stop.
 3   You can answer if you understand the question.      3          MR. BRANTINGHAM: Okay.
 4      A. Can you clarify your question more?           4          MR. THOMPSON: Make an objection, and
 5      Q. Yeah. I'll ask a different question.          5   then we'll go.
 6      A. Yes.                                          6          MR. BRANTINGHAM: Okay.
 7      Q. If all you have to do is send the             7          MR. THOMPSON: Don't make comments,
 8   transplanting surgeon a video of the heart, why     8   just make an objection. If you think that -- if
 9   would you need to communicate with him ever?        9   you think that I'm misinterpreting what he's
10         MR. BRANTINGHAM: I just object to the        10   saying, that's fine, but it's not your place to
11   form, it's argumentative. Do you understand the    11   say that on the record. That's called coaching
12   question?                                          12   the witness. If he thinks I'm misinterpreting
13      A. Not truly, but if --                         13   what he's saying, it's his job to tell me that,
14         MR. BRANTINGHAM: Okay. Let --                14   not yours. So make your objection and then I'm
15      Q. No, that's okay.                             15   going to ask a question.
16         MR. BRANTINGHAM: -- him ask another          16          MR. BRANTINGHAM: Okay. My objection
17   question.                                          17   is to foundation.
18      Q. If you don't understand the question,        18          MR. THOMPSON: Okay.
19   we're going to ask a different question.           19          MR. BRANTINGHAM: My objection is also
20      A. If you want me to ans --                     20   to asking the witness --
21         MR. BRANTINGHAM: Just -- no, no, no.         21          MR. THOMPSON: That's --
22   Let him ask another question.                      22          Mr. BRANTINGHAM: -- questions about
23         THE WITNESS: Okay.                           23   documents that you're sitting here looking at
24      Q. Let me ask a broader question that I         24   and not showing him.
25   think should be pretty easy to answer.             25          MR. THOMPSON: Neither one of those


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 1   things are anywhere close to an appropriate         1      Q. Go ahead. I'll take an answer to my
 2   objection --                                        2   question.
 3          MR. BRANTINGHAM: Fine.                       3      A. Can you make your question more
 4          MR. THOMPSON: -- in a deposition, and        4   precise?
 5   you know it. Foundation is not an appropriate       5      Q. If this is the only communication back
 6   objection in a deposition and you know it.          6   to Dr. Villavicencio about the suitability of
 7          MR. BRANTINGHAM: It is.                      7   that heart to be transplanted, do you think that
 8          MR. THOMPSON: Form is the only               8   complies with the standard of care?
 9   appropriate objection or if you're going to         9         MR. BRANTINGHAM: Same objections.
10   assert a privilege. That's it.                     10      A. Can you repeat your question?
11          MR. BRANTINGHAM: I can object to            11         MR. THOMPSON: Read it back to him,
12   foundation and I will.                             12   please.
13          MR. THOMPSON: That's fine. It's a --        13         THE REPORTER: Sure.
14   it's not a valid objection. You can --             14         (Record read by the reporter.)
15          MR. BRANTINGHAM: Go ahead and ask your      15      A. But we're having, you know,
16   question.                                          16   communication with Dr. V. I can't recall the
17          MR. THOMPSON: -- you can make it.           17   exact method of communication, but we -- I'm
18   BY MR. THOMPSON:                                   18   confident there was a communication.
19        Q. My question is this: Take a look at        19      Q. Okay. I'll take an answer to my
20   that text message. This one right here. See        20   question first, and then we'll go and talk about
21                                                      21   what other communication there was.
22   Do you see that?                                   22         Do you need me to ask my question
23     A. Yes, I did.                                   23   again?
24     Q. That's my first question.                     24      A. Yes.
25        These are text messages between Michael       25      Q. Assuming that that was the only

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 1   Pick and Dr. Villavicencio. Now I'm going to        1   communication back to Dr. Villavicencio, is it
 2   represent to you this is the only evidence that     2   your testimony that that would comply with the
 3   has been produced anywhere in this litigation       3   standard of care?
 4   about any communication back to Dr.                 4          MR. BRANTINGHAM: I'll object to the
 5   Villavicencio about the suitability of that         5   form and the foundation again.
 6   heart. Now if this is the only communication        6      Q. And I'll take an answer. Either you
 7   back to Villavicencio about the suitability of      7   think it complies with the standard of care or
 8   that heart, do you think that meets the standard    8   you agree with me, which I think is obvious,
 9   of care?                                            9   that no, that would not be enough.
10         MR. BRANTINGHAM: Hold on. Object to          10          MR. BRANTINGHAM: I'll object to
11   the foundation and the form of the question.       11   that --
12       Q. Go ahead.                                   12      A. Can I have --
13         MR. BRANTINGHAM: It is explicitly --         13          MR. BRANTINGHAM: Do you have an
14         MR. THOMPSON: No. That's --                  14   addition to the question?
15         MR. BRANTINGHAM: -- hypothetical.            15      A. -- the ability not to answer your
16         MR. THOMPSON: You --                         16   question?
17         That's not a hypothetical at all.            17      Q. No. You have to answer my questions.
18         MR. BRANTINGHAM: Go ahead and answer         18      A. Yes. I -- I don't know. Do you want
19   if you're able.                                    19   this answer?
20         MR. THOMPSON: You've made your               20      Q. That's fair. You don't know.
21   objection. Stop saying "if you're able."           21      A. I --
22   That's coaching. There's lots of case law on       22      Q. You don't know whether that would be
23   this.                                              23   enough?
24         MR. BRANTINGHAM: No, it's not.               24      A. No. I don't know your question.
25         MR. THOMPSON: Yes, it is.                    25          MR. BRANTINGHAM: Hold on. Just --


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 1   hold on, hold on, hold on.                         1          MR. BRANTINGHAM: Please.
 2      A. I don't know your question.                  2          MR. THOMPSON: I get to direct him to
 3         MR. BRANTINGHAM: Stop, doctor. Hang          3   the question that I'm asking. He's not
 4   on. We need to avoid the crosstalk.                4   answering that question. I've now asked it
 5         THE WITNESS: Uh-huh.                         5   three times. I'm going to have to ask it four
 6         MR. BRANTINGHAM: Okay? So let him ask        6   times because he's not answering the question
 7   an actual question, take your time, and then       7   that I'm asking. He's trying to answer some
 8   answer it.                                         8   other question. That's fine. If we want to let
 9         MR. THOMPSON: I think --                     9   him continue to do that, I would have --
10         Yeah, that's fine. I've asked it three      10   actually expect you to step in and say the
11   times.                                            11   question is blah. If you don't want to do that,
12         THE WITNESS: Uh-huh.                        12   that's fine.
13         MR. THOMPSON: It still hasn't been          13       Q. I didn't mean to interrupt you. Go
14   answered, but we'll try again.                    14   ahead and give your answer, and then we'll see
15         THE WITNESS: Yes.                           15   if that's an answer to my question.
16   BY MR. THOMPSON:                                  16       A. There was a clear communication between
17      Q. Assuming that this text message from        17   the donor surgeons and the transplant surgeon
18                                                     18   regarding this heart.
19                                                     19       Q. What donor surgeons?
20   Villavicencio about the suitability of that       20       A. The two procurement surgeons.
21   heart for transplant, do you think that would     21       Q. You say there was a clear
22   comply with the standard of care?                 22   communication. What clear communication?
23         MR. BRANTINGHAM: Object to the form         23       A. About the picture of the heart at the
24   and foundation.                                   24   donor site and at the OCS.
25      A. We were confident of our --                 25       Q. Okay. So your testimony is that the


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 1       Q. You're not answering my question.           1   clear communication was Michael Pick sent a
 2         MR. BRANTINGHAM: Let him answer the          2   video of the heart.
 3   question then.                                     3          MR. BRANTINGHAM: Object to the form.
 4       A. Don't interrupt --                          4       A. I can't recall the type of
 5         MR. THOMPSON: No. He's not answering         5   communication, but every time we make sure there
 6   the question.                                      6   is a clear communication about the donor heart.
 7         MR. BRANTINGHAM: He gets to answer the       7       Q. Do you think it's enough, and now we've
 8   question. You don't get to cut him off.            8   got the video in there, do you think it's enough
 9         MR. THOMPSON: We'll be here all day,         9
10   and that's fine.                                  10
11         MR. BRANTINGHAM: That's fine, too, by       11   of the heart? Does that comply with the
12   me, but let him answer the question.              12   standard of care in your view?
13       Q. Go ahead. But you got to answer my         13         MR. BRANTINGHAM: Object to form and
14   question.                                         14   foundation.
15         MR. BRANTINGHAM: You can answer --          15       A. I'm confident there was a clear
16       A. I --                                       16   communication about the picture of the donor at
17         MR. BRANTINGHAM: Hold on. You don't         17   the -- at the donor site -- the heart at the
18   get to tell the witness how you want the          18   donor site and at the machine.
19   question answered, Brandon. I know you know the   19       Q. We'll talk about that in a second.
20   rules just like you know I know the rules. This   20       A. Sure.
21   is JV stuff.                                      21       Q. With respect, that's not my question.
22         MR. THOMPSON: I get to direct him to        22   I'm not asking you whether you were confident
23   answer the question that I'm -- let me finish.    23   there was a clear communication. I'm asking
24         MR. BRANTINGHAM: Yeah. Please.              24   you: If the only communication was this text
25         MR. THOMPSON: Don't talk over me.           25   message and the video of the heart, do you think


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 1   that would be enough communication to comply        1      Q. Break it --
 2   with accepted standards of medical practice?        2         We're going to break it down. You
 3         MR. BRANTINGHAM: Do you understand,           3   understand what the standard of care is; right?
 4   doctor?                                             4      A. I want you not to interrupt me
 5         THE WITNESS: I --                             5   actually, you know. So I'm listening to you and
 6         MR. BRANTINGHAM: He's asking you to           6   I will give you my answer, the one I -- that I
 7   assume certain facts.                               7   know and the one I can recall.
 8         THE WITNESS: I --                             8      Q. Do you understand what the phrase
 9         MR. BRANTINGHAM: He's not asking you          9   "standard of care" means? I think you told us
10   about what you know, he's asking you to assume a   10   you do.
11   set of facts that he's creating and asking you     11      A. Uh-huh.
12   about that.                                        12      Q. Yes?
13       A. You know, I'm -- you can -- you can --      13      A. Yes.
14   you can -- you can ask any question to me          14      Q. Do you understand what I'm talking
15   regarding this donor, and that's why I'm -- I'm    15   about when I say "this text message?"
16   here, but you are asking about the standards of    16      A. Yes.
17   care, you know. I don't exactly understand your    17      Q. Do you understand what I'm talking
18   question.                                          18   about when I say "that two-dimensional video
19       Q. Okay. I'll ask it a different way, --       19   that was sent of the heart in the OCS machine?"
20       A. Okay.                                       20      A. Yes.
21       Q. -- see if we can get there.                 21      Q. Do you understand what I mean when I
22       A. Okay.                                       22   say "assume that that video and this text
23       Q. You know that there are certain ways        23   message were the only communications sent back
24   that the procurement process is supposed to be     24   to Dr. Villavicencio?"
25   done; right?                                       25      A. I can't recall.


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 1      A. Yes.                                          1       Q. That's not what I'm asking.
 2      Q. Do you understand what the phrase             2         MR. BRANTINGHAM: Hold on. Let him
 3   "accepted standards of medical practice" means?     3   finish. We've been over this.
 4      A. Accepted?                                     4       A. You want to interrupt me more and more?
 5      Q. Do you understand what the phrase             5       Q. No. I want you to answer my question
 6   "accepted standards of medical practice" means?     6   because it's a simple question.
 7      A. Yes.                                          7         MR. BRANTINGHAM: Hold on. Hold on.
 8      Q. Do you understand what the phrase             8   No. Hang on a -- this is --
 9   "standard of care" means?                           9         Let's take a minute. Okay?
10      A. Yes.                                         10         MR. THOMPSON: Yeah. That's fine.
11      Q. Great. With that understanding, do you       11         MR. BRANTINGHAM: Let's take a minute.
12   agree that if the only communication back to Dr.   12         THE REPORTER: Okay. Off the record.
13   Villavicencio about this heart was the single      13         (Recess taken from 10:00 a.m. to 10:11
14   text message and the two-dimensional video, that   14         a.m.)
15   would not be enough to comply with the standard    15         THE VIDEOGRAPHER: We're on video.
16   of care?                                           16         THE REPORTER: We're on the record.
17         MR. BRANTINGHAM: Object to foundation.       17   BY MR. THOMPSON:
18      Q. Do you understand my question?               18       Q. All right. Doctor, before we took a
19      A. Actually, no.                                19   break we were talking about my question about
20      Q. Okay. What part of it don't you              20   the standard of care. Do you remember that?
21   understand? Because you understand what the        21       A. Yes.
22   standard of care is; right?                        22       Q. All right. Now let me see if I can
23      A. I understood.                                23   frame it in a way that we can get on the same
24      Q. Great.                                       24   page about.
25      A. You ask --                                   25       A. Yes.


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 1      Q. Yeah. So here's why I'm asking these          1   document says what it says. The witness is
 2   questions, doctor, --                               2   clearly having issues with how you're
 3      A. Yes.                                          3   constructing your questions.
 4      Q. -- just to make sure we're on the same        4          MR. THOMPSON: I don't think he is at
 5   page here.                                          5   all. I think he's intentionally not answering
 6      A. Yes.                                          6   my question.
 7      Q. For about the last 20 minutes when I've       7          MR. BRANTINGHAM: I don't particularly
 8   been asking you questions about the                 8   care about what your opinion is about the
 9   communication back to Dr. Villavicencio --          9   witness.
10      A. Uh-huh.                                      10          MR. THOMPSON: Well then don't give me
11      Q. -- and what was required by the              11   your opinion. Don't give me your opinion.
12   standard of care, you've really kind of danced     12          MR. BRANTINGHAM: Okay. Let -- then
13   around my question about whether there needed to   13   let him ans --
14                                                      14          MR. THOMPSON: Instruct --
15                                                      15          MR. BRANTINGHAM: -- let him answer the
16                                                      16   question.
17                                                      17          MR. THOMPSON: -- instruct the guy to
18                                                      18   answer my questions.
19                                                      19          MR. BRANTINGHAM: I think I am.
20                                                      20          Go ahead and answer the question as you
21                                                      21   see fit, doctor.
22                                                      22       A. But you don't give me the chance to
23                                                      23   answer it actually.
24                                                      24          MR. BRANTINGHAM: Just let him answer
25                                                      25   the question.


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 1                                                       1      Q. You're not answering.
 2                                                       2      A. Please listen to me. There was a clear
 3                                                       3   communication regarding this donor heart with
 4                                                       4   the transplant surgeon between the -- the
 5                                                       5   procuring surgeons and the transplant surgeon.
 6                                                       6      Q. What was the clear communication?
 7                                                       7      A. There was a clear communication about
 8                                                       8   the heart status and the heart status on the --
 9                                                       9   on the -- on the OCS machine, and there was a
10                                                      10   clear communication regarding the steps -- or
11                                                      11   stages of the transport all -- all through and
12                                                      12   whether the heart is good or not or whether
13                                                      13   any -- for any event, and that was clear.
14                                                      14      Q. In what --
15                                                      15      A. That's the question you are asking me.
16                                                      16   Now -- now --
17                                                      17      Q. It's not.
18                                                      18      A. Let me -- let me -- let me finish.
19                                                      19         Now what I said to you, there was a
20       Q. Do you want to try to tell us that this     20   clear communication about the heart. Now I
21   is an answer to the question? It's not an          21   can't recall at the -- all stages whether that
22   answer to the question.                            22   was in the phone call or video or the text, I
23       A. You --                                      23   mean at each stage, but there was a clear
24          MR. BRANTINGHAM: Here's what I'd like       24   communication. That was -- that's the thing
25   to tell you, Brandon. We'll stipulate the          25   that I can attest.


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 1       A. Not working.                                 1       A. Uh-huh.
 2       Q. Have you ever applied for a job in           2       Q. -- and you say, you know what, this --
 3   Ohio?                                               3   this is not a heart that we're going to
 4       A. Probably in the past. I can't recall         4   transplant.
 5   where or whether in Ohio, but --                    5       A. Three to four times.
 6       Q. So your testimony is you just --             6       Q. Now you would agree with me that
 7   because you want to improve yourself, you just      7   sometimes a heart that looks good at the donor
 8   randomly went out and got a medical license in      8   site may no longer be viable when you get back
 9   the United States state of Ohio in 2018.            9   to the transplant institution; right?
10       A. Two -- 2018 and while I was in Jordan.      10       A. Say it again.
11       Q. But not because you were looking to get     11       Q. Sometimes a heart that looks good at
12   a job there, just because you wanted to improve    12   the donor site ends up not being transplanted at
13   yourself.                                          13   the transplant institution; right?
14       A. Yes.                                        14       A. Your -- your -- your question is broad
15       Q. What about Indiana or Wisconsin or          15   actually because --
16   Iowa? Are you going to get licensed in any of      16       Q. It's intended to be broad.
17   those places?                                      17          Does that ever happen --
18       A. Because when you apply for a license,       18       A. Because --
19   you look for the requirements of the license.      19       Q. -- in your experience?
20       Q. Right. My question is: Ohio seems           20       A. -- there --
21   totally random unless there's some reason that     21          I answered your question. We denied
22   you were applying there, and that's what I'm       22   three to four cases roughly of heart transplant
23   trying to figure out. If it was just because       23   at the donor site.
24   you want to improve yourself, why not some other   24       Q. We're talking past one another. So let
25   state?                                             25   me -- let me ask it a different way.

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 1       A. Just I choose Ohio. I mean I went one        1      A. Uh-huh.
 2   state license. That's all.                          2      Q. As part of getting your OCS training
 3       Q. Okay. Have you ever gone to procure a        3   and as part of procuring hearts to be placed on
 4   heart and decided that, based on your global        4   the OCS, I presume you familiarized yourself
 5   assessment, that it was not going to be suitable    5   with the literature that involved the OCS.
 6   for transplantation?                                6      A. Yes.
 7       A. Yes.                                         7      Q. So you are well aware of the PROCEED
 8       Q. How often has that happened in your          8   and EXPAND studies, I presume.
 9   career, best estimate?                              9      A. Yes.
10       A. At the donor site you mean?                 10      Q. So you know that in those studies, one
11       Q. At --                                       11   out of every five, almost, hearts that were
12          We'll talk about other times, yes. I        12   transported on the OCS ended up not being
13   appreciate that clarification. At the donor        13   transplanted once they -- once they got to the
14   site.                                              14   transplant institution; right?
15       A. At the donor site, that includes at the     15         MR. BRANTINGHAM: Just object to
16   donor and at the OCS?                              16   foundation.
17       Q. Could -- could be an OCS heart, might       17      A. That's what you read?
18   not be an OCS heart.                               18      Q. Well you read the studies as well as I
19       A. Yes.                                        19   did.
20       Q. Any heart that you're going to procure      20      A. I read and I have my own -- but to
21   for transplant, you're at the donor site, you do   21   answer --
22   your visual assessment, you palpate the vessels,   22         MR. BRANTINGHAM: Yeah. Just go ahead
23   you look for bruising, you look for anomalies,     23   and answer the question.
24   you look at the hemodynamics, you do all the       24      A. You ans --
25   stuff that you were doing --                       25         To answer your question, we deny three


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 1   to four -- three to four hearts. I'm talking        1   that are transported on the OCS that look good
 2   about hearts, not lungs. And we had the             2   at the donor site, and then they end up being
 3   experience of denying a heart from the donor        3   discarded without being transplanted; right?
 4   site and we had the chance to deny a heart after    4          MR. BRANTINGHAM: Object to foundation.
 5   putting it on the OCS machine.                      5       A. That's what you read.
 6       Q. Okay. I'm sticking now with the              6       Q. That what what?
 7   studies about the OCS machine; okay?                7       A. That's what you read, I mean, and you
 8       A. Uh-huh.                                      8   are saying it.
 9       Q. Are you with me?                             9       Q. I'm asking if you read it.
10       A. I'm with you.                               10          MR. BRANTINGHAM: What -- hang --
11       Q. I'm not talking about your personal         11   just --
12   experience. We'll talk about that in a minute.     12          This will be a lot probably smoother
13   I'm talking about your review of the OCS           13   and clearer if you want to show him whatever
14   studies. Are you with me?                          14   document you're asking him about.
15       A. I'm with you.                               15          MR. THOMPSON: Yeah. That's not what
16       Q. When you went to procure this heart for     16   we're going to do.
17   Noah Leopold, you knew that it was going to be     17          MR. BRANTINGHAM: Well you just said
18   transported on the OCS; right?                     18   "you read it." What are you talking about that
19       A. That's correct.                             19   he read?
20       Q. Is the fact that a heart is going to be     20       Q. I asked you before about whether you
21   transported on the OCS something that is           21   read the PROCEED and EXPAND studies, and you
22   relevant to you when deciding whether a heart is   22   told me that you did; right?
23   suitable for transplantation? Is that one of       23       A. Right.
24   the things you take into account?                  24       Q. Okay. Now I'm sticking with your
25       A. Can you -- I can --                         25   knowledge.


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 1          I -- I want you to revise this -- this       1      A. Uh-huh.
 2   answer, make it more clear to me.                   2      Q. Do you know that there is a significant
 3       Q. I don't know how to make it any more         3   subset of hearts that are transported on OCS
 4   clear. When you went to procure the heart for       4   that look good at the donor site and end up not
 5   Noah Leopold, was it relevant to you that this      5   looking good once they get to the transplant
 6   heart was going to be transported on the OCS?       6   institution?
 7       A. That's correct.                              7      A. Can you show me the --
 8       Q. It was relevant to you?                      8      Q. No. I'm asking if you know that.
 9       A. What do you mean by relevant? I mean         9          MR. BRANTINGHAM: Just to your
10   I'm sure it was to be on OCS, I was sure,          10   knowledge, doctor.
11   because of the distance.                           11      A. That may be, but that -- I can't
12       Q. Yep.                                        12   talk --
13          Did that go into your analysis about        13          I mean I cannot know the exact
14   whether this heart was going to be suitable for    14   percentage. You are saying significant.
15   transplantation?                                   15   That's -- that's something different.
16       A. Using the OCS you mean?                     16      Q. Okay. Is it significant to you?
17       Q. The fact that you were going to have to     17          MR. BRANTINGHAM: Hold on a second.
18   transport it on the OCS.                           18   You used the word "significant" meaning a
19       A. Yes.                                        19   significant number of hearts in those studies.
20       Q. And the -- one of the reasons for that      20   Now you're using the word "significant" to ask
21   is because you know, because you read these        21   him if this information he has not agreed to is
22   studies --                                         22   significant to him?
23       A. Uh-huh.                                     23      Q. No. I'm asking if the number was
24       Q. -- and you trained on the OCS, you know     24   significant to you, because you told me you read
25   that there is a significant subset of hearts       25   the studies.


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 1         MR. BRANTINGHAM: But you haven't              1   the OR where it's gone from this is a good
 2   established the number, Brandon.                    2   heart, we're going to transplant, to this is not
 3         MR. THOMPSON: I don't need to. I'm            3   a good heart and we're not going to transplant
 4   asking -- he's saying he doesn't know the for-      4   it; right?
 5   sure number.                                        5        A. No. If that's your answer, no.
 6       Q. I'm saying I don't care if you know the      6        Q. Okay. What am I missing?
 7   for-sure number. Is it a number that's large        7        A. Yes. Because to be specific in your
 8   enough to be significant to you? Because it's       8   question, I'm talking to you that we had the
 9   large enough to be significant to the people who    9   experience to deny heart at the donor site.
10   manufactured the device.                           10   That includes when we assess the heart first, we
11         MR. BRANTINGHAM: Okay.                       11   say this is not suitable for the transplantation
12       Q. So I'm asking if it's significant to        12   upon communication with the transplant surgeon.
13   you.                                               13   We are all in agreement. The second -- the
14         MR. BRANTINGHAM: Okay. I -- hang on.         14   second stage that we had experience with is
15   I object to the form of the question. Go ahead     15   putting the heart on the transplant -- on the --
16   and try to answer it if you can.                   16   on -- the donor heart on the OCS machine, and
17       A. There --                                    17   when that happened, when we see the heart, we
18         You read these. I read many of the           18   communicated with the transplant surgeon the
19   literature I mean when I was trained in the OCS.   19   same way, the same video, that this is not -- I
20   You know, I keep updating myself. There are        20   mean that has something, you know, in the heart,
21   many numbers in the studies. That's why I'm        21   so we cannot, and it was denied.
22   telling you, you know, what do you mean by         22        Q. Yep. And then sometimes the lactate
23   "significant?" You know, you want the right        23   doesn't go down en route and that's a bad sign;
24   answer? Just ask me the specific question.         24   right?
25       Q. I want your answer. I want to know if       25        A. Doesn't --


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 1   it is -- if --                                      1          Say your question again.
 2           From your recollection of the studies       2       Q. One of the things that you're looking
 3   and from your experience with OCS and from your     3   for on the OCS is you're looking at the
 4   training with OCS, do you at least have a           4   lactates; right?
 5   general understanding that there are hearts that    5       A. Correct.
 6   look good at the donor site, and they end up        6       Q. And what we want to see is that the
 7   getting discarded at the transplant site?           7   lactates are going down; right?
 8           MR. BRANTINGHAM: Okay.                      8       A. Correct.
 9        Q. Do you understand that?                     9       Q. Sometimes they don't go down; right?
10           MR. BRANTINGHAM: Hang on. So that's        10       A. The lactate is one of the good
11   the question.                                      11   parameters to assist the heart on the OCS
12           MR. THOMPSON: Yeah.                        12   machine.
13           MR. BRANTINGHAM: Do you get that           13       Q. I understand that.
14   question?                                          14       A. Yes.
15           THE WITNESS: I get --                      15       Q. And sometimes --
16           MR. BRANTINGHAM: Just answer just that     16          Most of the time the lactates look
17   question.                                          17   good, and a heart that looked good at the donor
18        A. There are certain hearts that are          18   site, we're still going to transplant it on the
19   denied at the donor site, not transplanted,        19   back end. Right? That's what happens most of
20   after, you know, we're choosing for -- for -- I    20   the time.
21   mean to be procured, and then they are denied.     21          MR. BRANTINGHAM: If I can help
22        Q. Right. Because something happens en        22   clarify, you're not asking about his experience,
23   route. They looked good at the donor site,         23   Mayo's experience, you're asking in the universe
24   something happens between the time they get put    24   of people who have ever used OCS. Right?
25   on the OCS machine and the time that they get to   25       Q. Including maybe your experience.


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 1         MR. BRANTINGHAM: Sure.                        1   we -- you know, when we got our training, and I
 2      Q. I mean most of the time when you get a        2   keep updating about myself.
 3   heart and you put it on OCS, it does get            3       Q. My question was: When's the last time
 4   transplanted at Mayo; right?                        4   you think you looked at it?
 5         Let me ask it a different way.                5       A. I --
 6      A. Yes.                                          6          I'm working on myself. I get updated
 7      Q. In 2022 you estimated that you did ten        7   in many aspects of this. And --
 8   OCS heart cases; right?                             8       Q. I'm talking about one specific
 9      A. An estimate.                                  9   aspect, --
10      Q. Okay.                                        10       A. And --
11      A. A rough estimate to say.                     11       Q. -- this manual. When do you think the
12      Q. Were any of those hearts rejected once       12   last time is that you looked at it?
13   they got to Mayo?                                  13       A. The resources are so many in our
14      A. I can't remember any one.                    14   medicine. We are having many resources and many
15      Q. In 2023 you estimated somewhere between      15   articles that I keep all the time updating
16   12 to 15 OCS hearts. Were any of them rejected     16   myself. But I can't recall, as per your
17   once they got to Mayo?                             17   question, I can't recall exactly the time that I
18      A. I can't remember any case.                   18   read this document the last time.
19      Q. This year, approximately eight OCS           19       Q. Do you have any recollection whatsoever
20   hearts. Were any of them rejected once you got     20   about what the warnings are that the
21   to Mayo?                                           21   manufacturer puts in this manual?
22      A. There was one case was turned down at        22       A. Yeah. I --
23   the donor site.                                    23          There are -- there are certain --
24      Q. Wasn't my question. We got to stick          24   certain parameters that we are, you know -- we
25   with my question.                                  25   get -- we get to know that we are in the normal


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 1      A. On the OCS machine.                           1   ranges.
 2      Q. Yep.                                          2        Q. Wasn't my question.
 3         I'm asking if any of those eight got --       3          My question was: There's a section in
 4   that got put on the OCS, we brought them all the    4   this manual, Section 1.5 that's in nice bold
 5   way to Rochester, and then once they got here we    5   letters, and the top of it says "Warnings." Do
 6   decided, you know what, we thought this was         6   you have any clue as you sit here today what
 7   going to work, but it's not going to work. That     7   those warnings are?
 8   hasn't happened to your recollection.               8        A. I'm reading a lot of articles, so you
 9      A. I can't recall any one.                       9   are asking me about a sentence written in -- in
10      Q. Fair enough.                                 10   bold. But if you want to -- if you want to show
11         But you know, because you read the           11   it to me I can, you know, tell you, but I
12   studies, --                                        12   read -- I'm daily reading.
13      A. Uh-huh.                                      13        Q. My question -- I think you're answering
14      Q. -- that 20 percent of the time in the        14   it, just in a roundabout way. My question is:
15   studies that did happen; right?                    15   As you sit here today, do you have any clue what
16      A. There are many studies, many studies         16   warnings the manufacturer of this device that
17   now. The literature is full of studies with --     17   you are using dozens of times puts out there?
18      Q. Stick with EXPAND.                           18          MR. BRANTINGHAM: Object to the form of
19      A. -- with different numbers.                   19   the question. Go ahead, doctor. I think you
20      Q. Have you ever read or even looked at         20   did answer it.
21   the TransMedics OCS Heart User Guide?              21        A. Yes. I'm aware of the -- of the
22      A. Of course.                                   22   certain things that are alarming to me and this
23      Q. When is the last time you think you          23   machine are -- are the readings, you know, that
24   looked at it?                                      24   I should pay attention to that, if that's the
25      A. Yeah. I looked at that, you know --          25   thing -- the answer for your question.


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 1       Q. Okay. So your answer is you -- you           1      Q. Sure. For example, the lactate may
 2   don't know with any specificity what the            2   change. That's why somebody's supposed to be
 3   warnings are.                                       3   looking at the lactate every 15 to 30 minutes;
 4       A. I know the warnings of the heart. I'm        4   right?
 5   aware of the -- of this machine, you know.          5         MR. BRANTINGHAM: Object to the form,
 6       Q. You're aware of the warnings of the          6   compound.
 7   heart and you're aware of this machine. What        7      A. These numbers, you know, give an
 8   warnings --                                         8   assessment and -- and -- you know, about the
 9       A. The heart --                                 9   heart, you know, function on the OCS machine.
10       Q. Hold on.                                    10      Q. I understand that.
11         MR. BRANTINGHAM: Just --                     11      A. Uh-huh.
12       Q. You got to --                               12      Q. And they can change as the run goes on;
13         You answered, and now I got to ask you       13   right?
14   a follow-up question.                              14      A. Yes.
15         MR. BRANTINGHAM: Wait for a real             15      Q. That is why the lactates are supposed
16   question.                                          16   to be periodically sequentially drawn; right?
17       Q. What warnings of the heart are you          17      A. Correct.
18   talking about?                                     18      Q. Now the flow pressures can also change;
19       A. On the machine or where?                    19   right?
20       Q. You said "I'm aware of the warnings of      20      A. Correct.
21   the heart." What did you mean when you said        21      Q. That is why there is a readout that
22   that?                                              22   shows what the flow pressures are; right?
23       A. Yeah. Because you keep inter --             23      A. Correct.
24   interrupting me. You are asking me about the       24      Q. Right. Somebody's got to be actually
25   machine, the warnings on the -- on the machine.    25   looking at that stuff and doing an ongoing


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 1   Right? And I'm answering you, but you keep          1   assessment of the heart; right?
 2   interrupting me. I'm aware of the warnings of       2       A. Right.
 3   the machine and the heart being on the machine.     3          MR. BRANTINGHAM: Object to the form.
 4   That's my question to you -- that's my answer to    4       Q. Go ahead.
 5   your question.                                      5       A. These --
 6      Q. Okay. What warnings are you aware of?         6          I mean these numbers, you know, there
 7      A. Yes. So first, you know, the numbers,         7   is -- they are sequentially measured. And for
 8   the numbers that we are having and the              8   this particular donor, all the flows and the
 9   parameters.                                         9   numbers were within the normal ranges.
10      Q. What numbers and what parameters are         10       Q. We're going to get to -- we're going to
11   you talking about?                                 11   get to the -- what actually happened in this
12      A. Yes. The coronary perfusion, the             12   case. Right now I'm just talking about general
13   aortic pressure, the lactate levels, the           13   concepts.
14   arterial blood gases, the visual assessment of     14          One of the other general concepts is
15   the heart.                                         15   that the function of the heart can change over
16      Q. All of those things are important;           16   time; right?
17   right?                                             17       A. It may.
18      A. Yes.                                         18       Q. I mean the reason it's in a clear box
19      Q. All of those things are an important         19   is so that somebody can look at it; right?
20   part of assessing whether the heart is suitable    20          MR. BRANTINGHAM: Object to foundation.
21   for transplantation; right?                        21       Q. Didn't they tell you in your
22      A. Correct.                                     22   TransMedics training that the reason this thing
23      Q. And those things can and do change           23   is in a clear box is so that an ongoing visual
24   during the entire OCS run; right?                  24   assessment can be performed?
25      A. They may change.                             25       A. Yes.


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 1       Q. Thank you.                                   1   sure that I'm getting this right.
 2       A. I can --                                     2       A. Yeah. We don't, you know. I can't
 3          MR. BRANTINGHAM: Just ans -- yes.            3   recall --
 4   That's good.                                        4          You know, the reason why I'm thinking,
 5       A. I want to --                                 5   because I can't recall if that -- there was
 6          MR. BRANTINGHAM: That's the answer,          6   internet coverage in that airplane.
 7   yes.                                                7       Q. Uh-huh.
 8       Q. Nope. You've answered my question.           8       A. But if there is no internet
 9   Yes, they did tell you that the reason that this    9   coverage, --
10   thing is in a clear box is so an ongoing visual    10       Q. Uh-huh.
11   assessment can be performed.                       11       A. -- there is no to communicate -- no way
12          Did they tell you in your TransMedics       12   in the airplane, I mean.
13   training that is an import -- it is important to   13       Q. Got it. I mean --
14   actually conduct that ongoing visual assessment?   14          Okay. I mean presumably you've flown
15       A. You mean this every time?                   15   commercial plenty; right?
16       Q. Every time a heart is on the OCS --         16          MR. BRANTINGHAM: I think we'll
17       A. Yeah.                                       17   stipulate you can get Wi-Fi on those commercial
18       Q. -- somebody should be looking at it to      18   flights, if that's where you're going with it,
19   see if it still looks like it's functioning        19   Brandon.
20   well; right?                                       20       Q. Yeah. But -- but you don't --
21       A. Yes.                                        21          I mean you don't know whether you can
22       Q. Yeah. That's an important part of the       22   communicate? What if -- what if something
23   ongoing assessment of the heart; right?            23   really catastrophic happens with the heart while
24       A. Uh-huh. Right.                              24   you're in the air, the OCS machine stops
25       Q. Because if the heart looked like it was     25   working, for example, are you telling me there's

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 1   really beating strong at the donor site and when    1   no way to communicate back to the transplant
 2   you put it on the OCS machine, but if now we're     2   team and tell them that?
 3   an hour and a half into the flight and the          3          MR. BRANTINGHAM: Hang on one second.
 4   thing's not looking so good, --                     4   Object to the form of that question, I think
 5       A. Uh-huh.                                      5   it's been asked now a couple of times. Go
 6       Q. -- that's important; isn't it?               6   ahead.
 7       A. It's important. Of course.                   7        A. I can't recall if that airplane had an
 8       Q. And if that happens, somebody should be      8   internet or not. I can't recall if there was a
 9   picking up the phone and communicating that back    9   communication in the airplane, that's the second
10   to the transplant surgeon; right?                  10   thing. That's -- that's my question -- my
11         MR. BRANTINGHAM: Just object to form.        11   answer to you.
12       A. It depends where you are. You are           12        Q. When is the last time you went on an
13   talking in the airplane?                           13   OCS run?
14       Q. Yeah. Do you not have the ability to        14        A. Two weeks.
15   communicate back with Mayo while you're on the     15        Q. Was there Wi-Fi on that plane?
16   plane?                                             16        A. No.
17       A. Actually, no. There is no --                17        Q. So presumably then what you're telling
18       Q. Really. You have no ability to              18   me is if something bad happens with the heart
19   communicate back with Mayo while you're on this    19   while it's on the airplane, we may have to wait
20   plane.                                             20   until we're on the ground to communicate that
21         MR. BRANTINGHAM: Asked and answered.         21   back to the transplant team.
22   Go ahead, you can answer again.                    22        A. If there is no internet, that's
23       Q. I mean I am --                              23   correct.
24       A. I have --                                   24        Q. Yeah. Okay.
25       Q. Pardon my shock, but I want to make         25          Can you and I agree that if the heart


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 1   function changes during the flight, looked good     1       A. That didn't happen.
 2   at the donor site but, boy, while we were en        2       Q. We're going to talk about that. Don't
 3   route it actually wasn't looking as good as it      3   worry.
 4   did at the donor site, that's an important piece    4       A. Uh-huh.
 5   of information to communicate to the transplant     5       Q. I'm talking about in general.
 6   team?                                               6         MR. BRANTINGHAM: He's asking a
 7          MR. BRANTINGHAM: Object to the form.         7   hypothetical. That's just --
 8       A. That donor? We --                            8       A. Yeah. As a general information, if you
 9       Q. I'm not asking about a specific donor.       9   are asking a hypothetical thing, yeah, this -- I
10       A. We did not have any event.                  10   mean once we are touching in the nearest airport
11       Q. Oh, we're going to talk about that.         11   to the hospital, you know, if there is any event
12   Don't worry about that.                            12   with -- with -- with the donor, with the -- with
13       A. Yeah.                                       13   the organ, whatever, you know, a heart or lung,
14       Q. I'm talking about in general.               14   we communicate that with the -- with the
15       A. Yeah.                                       15   surgeon.
16       Q. Yeah. We're going to get into what you      16       Q. I'm not just talking about any event.
17   saw in that airplane.                              17   I'm talking about a specific event, --
18       A. Because --                                  18       A. At --
19       Q. We're talking -- hold on. My question       19       Q. -- and that -- and that would be the
20   is general.                                        20   heart -- overall heart function looks like it's
21          Can't you as a cardiothoracic surgeon       21   not as strong and robust as it was when we took
22   agree with me that if the heart function looks     22   off.
23   really good and strong and robust at the donor     23       A. And --
24   site, but while you're en route it looks less      24         MR. BRANTINGHAM: Object to the form of
25   robust and it isn't beating as strong, that is     25   the question and foundation.


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 1   an important piece of information that needs to     1          So he's asking a more specific question
 2   be communicated to the transplant surgeon?          2   now based on the description he just gave you of
 3          MR. BRANTINGHAM: You mean when he            3   what might happen to a heart, and it's
 4   can't communicate it in flight or after?            4   hypothetical. If you're able, go ahead.
 5       Q. Once you land.                               5       A. If there is any event, that includes,
 6          MR. BRANTINGHAM: Okay. So he's asking        6   you know, happened in the airplane, we will pass
 7   once you land, is it important to communicate to    7   it after we land, you know, whenever we have the
 8   the surgeon what he just said.                      8   chance to communicate with the surgeon.
 9       A. Of course the surgeon is aware that we       9       Q. Did you know that in the PROCEED study
10   are landing and if there is anything.              10   overall survivor was -- survival was lower in
11       Q. You're not listening to me.                 11   patients transplanted with the OCS system
12       A. Of course.                                  12   compared to patients transplanted with standard
13       Q. No, no. I know the surgeon knows when       13   cold preservation?
14   you land. I didn't ask you whether you need to     14       A. Yes, I know.
15   tell the surgeon when you land. Stick with me.     15       Q. You're aware of that.
16   Hold on. Stick with me, because I want to make     16       A. Yes.
17   sure we're on the same page about this.            17       Q. Is that a relevant piece of information
18       A. Uh-huh.                                     18   to you as the procurement surgeon?
19       Q. To you, as a cardiothoracic surgeon,        19       A. Yes.
20   would it be relevant to know that a heart that     20       Q. Did you know that in the PROCEED and
21   was beating really strongly when you took off in   21   the EXPAND studies there was pathologic evidence
22   Idaho wasn't beating so strongly when you landed   22   of myocardial injury with hearts that were
23   in Rochester? Would that be important?             23   preserved on the OCS system and nobody knows for
24       A. You're talking about this donor.            24   sure why that happened?
25       Q. No. I'm asking you a gen --                 25       A. That's what the study said.


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 1       Q. Yep. Do you have any reason to dispute      1      Q. Is the phrase --
 2   that?                                              2         Does the phrase "marginal heart" mean
 3       A. I have no.                                  3   anything to you as a cardiothoracic surgeon?
 4       Q. Do you have any theories as to why some     4      A. Yes.
 5   hearts that are transported on the OCS system      5      Q. Is that kind of a term of art?
 6   suffer myocardial damage while they're on the      6      A. What?
 7   system?                                            7      Q. Is that a term of art for cardiac
 8         MR. BRANTINGHAM: Foundation.                 8   surgeons?
 9       A. I -- I have no explanation.                 9      A. What do you mean heart -- art or heart?
10       Q. You don't have a clue. You just know       10      Q. Term of art. Do you know that phrase?
11   it happens, but you don't know why.               11      A. No.
12       A. No. That's --                              12      Q. Okay. Is "marginal heart" a phrase
13         That there are certain things that          13   that cardiac surgeons use?
14   happen that, still now, I mean the literature     14      A. Marginal, yes.
15   don't have explanation. But I have a lot of,      15      Q. Yes. Okay.
16   you know, of -- of information about this. You    16         What does it mean to you?
17   know, I'm at Mayo, so we are -- we are -- you     17      A. Means to me that it's not the optimum
18   know, we know a lot about these -- this machine   18   thing or the very excellent thing.
19   and how, you know, to run the heart on it --      19      Q. So a marginal heart, in your
20       Q. Uh-huh.                                    20   definition, would be not optimal, not excellent.
21       A. -- and how to choose the heart. Yeah.      21      A. No, not the very excellent.
22       Q. Uh-huh. Uh-huh.                            22      Q. Not very excellent. Got it.
23         Is it part of your practice, when           23         Okay. When you reviewed the UNOS
24   you're reviewing the UNOS records, to look at     24   records for the donor in this case -- now we're
25   the donor's social and medical history?           25   going to talk about this case -- did you have


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 1       A. Yes.                                        1   any estimate whatsoever about what size that
 2       Q. Why?                                        2   donor heart was going to be?
 3       A. We review every aspect that's written       3       A. Size of what? I mean size of the --
 4   or documented in the UNOS.                         4       Q. Size of the heart.
 5       Q. Is the medical--                            5       A. Yeah. It was -- it was okay. It
 6       A. Because I believe --                        6   was -- it was good.
 7       Q. Go ahead. I didn't mean to cut you          7       Q. When you looked at the UNOS records,
 8   off. Go ahead.                                     8   did you have an estimate of what the size was
 9       A. Yeah. Because when we go there we try       9   going to be was my question.
10   to get most of the information relevant to the    10       A. Yes.
11   donor site, to the donor patient.                 11       Q. We're not even getting to the visual
12       Q. There are certain things about a           12   inspection yet.
13   patient's medical or social history that can      13       A. Yes.
14   make their heart riskier than others; right?      14       Q. We'll get to that in a minute. You're
15       A. Like what?                                 15   still in Rochester.
16       Q. Well we'll get into the specifics. I       16       A. Yes, still in Rochester.
17   at least want a general agreement that, yeah,     17       Q. Yep. You look at the UNOS records.
18   there are things that can make a heart riskier.   18       A. Yes, we look at the UNOS records. You
19       A. In I mean the whole picture, you know,     19   know, echo and -- echocardiogram and
20   there are -- all the circumstances of the donor   20   catheterization as well as all the other
21   are important to us.                              21   measures that we looked at, I mean the whole
22       Q. Uh-huh. Uh-huh.                            22   document in the UNOS, this donor was an
23       A. We know --                                 23   excellent donor to get.
24         You know, we should know everything,        24       Q. None of that was my question though.
25   you know, that we can -- we can know.             25   My question was very specifically limited to


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 1   size.                                               1      A. Uh-huh. Yes.
 2         Did you have any estimate as to what          2      Q. Yeah? I mean you can't put like the
 3   size that donor heart was going to be before you    3   heart of a four-year-old in the heart of a
 4   left Rochester?                                     4   300-pound guy; right?
 5       A. What do you mean by size? I mean --          5      A. Right.
 6   you mean echo measurements? Because that's --       6      Q. Right. And on the other side of the
 7   that's a vague question to me actually.             7   spectrum, you got to make sure the heart's not
 8       Q. Okay. I guess I wasn't expecting that.       8   too big, because if the donor heart is too big,
 9         Is any aspect of heart size relevant to       9   you're not going to be able to make it fit in
10   the question of whether it's suitable for          10   the recipient's chest cavity; right?
11   transplantation?                                   11      A. Correct.
12       A. Yes, of course.                             12      Q. All right. So because of that, there
13       Q. What aspect of it is relevant?              13   are parameters for a heart that's too undersized
14       A. Yes. The echo measurements of the --        14   or a heart that's too oversized; right?
15   of that heart.                                     15      A. Right.
16       Q. Of the dimensions.                          16      Q. What are those parameters in your view?
17       A. Dimensions are one of them.                 17      A. Yes. So this -- this donor was
18       Q. Yep. Okay.                                  18   selected --
19         Did you have a clue what size this           19      Q. I'm not talking about this donor.
20   heart was?                                         20   General parameters for how undersized or
21       A. I can't recall exactly the numbers, but     21   oversized a heart can be and still fall within
22   they were within the, you know, range of our       22   the acceptable range.
23   acceptability for this -- for this recipient.      23      A. That depends on each, you know,
24       Q. And the reason you knew that is because     24   circumstance of the donor and recipient.
25   the transplant committee had decided that, not     25      Q. Are you telling me there's not a

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 1   because you did anything to independently verify    1   generally-accepted percentage?
 2   that; right?                                        2      A. There are -- there are, you know,
 3       A. Of course the transplant committee I         3   certain per -- you know, percentages and number,
 4   mean chose this, but I looked at that, you know,    4   but each recipient and each donor is having
 5   and my opinion was in agreement with their --       5   different circumstances.
 6   with their opinion.                                 6      Q. Okay. So specifically then for Mr.
 7       Q. Okay. How -- how was Noah's heart size       7   Leopold, how was it determined what an
 8   estimated?                                          8   appropriate size heart would be for him?
 9          MR. BRANTINGHAM: Object to foundation.       9      A. That -- that was, you know, the
10       Q. Well let me -- let me ask a broader         10   selection committee, you know. They, you know,
11   question.                                          11   they chose this donor for this recipient.
12       A. You're asking --                            12      Q. So is the answer to my question: I
13       Q. In order --                                 13   actually, Dr. Altar --
14       A. Because you are mixing the donor --         14         How do you pronounce your last name?
15          MR. BRANTINGHAM: Just let him -- just       15      A. Altarabsheh.
16   let him ask a better question.                     16      Q. Altarabsheh.
17       Q. Yeah. In order to figure out whether a      17         -- I, Dr. Altarabsheh, actually have no
18   donor heart is a size match for the recipient,     18   idea how the selection committee went about
19   you got to have at least an estimate of how big    19   determining that this was a proper size?
20   the recipient's heart is; right?                   20      A. That --
21       A. Right.                                      21         MR. BRANTINGHAM: Object to the form of
22       Q. Right. Because you want to make sure        22   the question. Go ahead.
23   that the heart that you're going to transplant     23      A. That's totally incorrect.
24   is big enough that it is going to be able to       24      Q. Then tell me --
25   actually run the recipient's body; right?          25         Don't -- don't tell me the selection


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 1   committee did it then if --                         1          MR. THOMPSON: Okay.
 2      A. Don't interrupt me.                           2          MR. BRANTINGHAM: -- and upbraided him
 3         MR. BRANTINGHAM: Hold on, hold on,            3   with your dissatisfaction with his prior answer.
 4   hold on, hold on.                                   4   Just ask the question, let him answer.
 5         MR. THOMPSON: Hold on.                        5          MR. THOMPSON: What part of "I don't
 6         MR. BRANTINGHAM: Just ask a                   6   need your advice about how to ask questions" are
 7   question --                                         7   we not clicking on here?
 8         MR. THOMPSON: I am.                           8          MR. BRANTINGHAM: Oh, I understand what
 9         MR. BRANTINGHAM: -- and then let him          9   you're saying.
10   answer it.                                         10          MR. THOMPSON: Right.
11         MR. THOMPSON: I am.                          11          MR. BRANTINGHAM: I don't care.
12         MR. BRANTINGHAM: Okay. Go. Hold on,          12          MR. THOMPSON: Perfect.
13   doctor. Go ahead with your question.               13          MR. BRANTINGHAM: Because I'm going to
14      Q. How did the decision get made for Mr.        14   make my objections, and if you're going to abuse
15   Leopold that this heart was going to be an         15   witnesses --
16   appropriate size? Because when I asked you that    16          MR. THOMPSON: Then make an objection.
17   before you --                                      17   You're not making objection. You're telling me
18         MR. BRANTINGHAM: No, no, no, no. Just        18   how to ask questions. That's not an objection.
19   ask the question, Brandon.                         19          MR. BRANTINGHAM: I'm --
20         MR. THOMPSON: Don't interrupt me.            20          Actually, Brandon, I'm telling you you
21   Don't inter -- I'll ask --                         21   didn't ask a question.
22         MR. BRANTINGHAM: Don't badger the            22          MR. THOMPSON: I did.
23   witness, Brandon.                                  23          MR. BRANTINGHAM: You asked a
24         MR. THOMPSON: I will ask the questions       24   legitimate question, you then followed it with a
25   how I want to ask the questions. I don't need      25   speech which is meant to intimidate, influence,


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 1   your instruction or advice as to how I'm going      1   manipulate the witness. Just ask a question and
 2   to conduct the deposition. Your job is to sit       2   you'll get an answer.
 3   there and make objections. And if you think         3          MR. THOMPSON: Are you finished?
 4   that I'm so far out of line that we need to         4          MR. BRANTINGHAM: Just ask a question.
 5   terminate the deposition, that is your remedy.      5          MR. THOMPSON: Are you finished?
 6   Your remedy is not -- your remedy is not to tell    6          MR. BRANTINGHAM: I am now finished.
 7   me how you think I should be asking questions.      7          MR. THOMPSON: Great.
 8   So please --                                        8          MR. BRANTINGHAM: Please ask your
 9           MR. BRANTINGHAM: I'm well aware of my       9   question.
10   remedies.                                          10   BY MR. THOMPSON:
11           MR. THOMPSON: Then great. Please stop      11      Q. My question is: How did it come --
12   interrupting me and let me ask my questions.       12          How was it decided that this heart was
13           MR. BRANTINGHAM: Please ask questions,     13   going to be an appropriate size for Mr. Leopold?
14   and when you ask a question, don't follow it       14   And don't tell me that that was the selection
15   with shouting at the witness about your            15   committee's decision, because I want to know
16   dissatisfaction with his prior --                  16   what your knowledge is about how that decision
17           MR. THOMPSON: We -- we have a video.       17   was made.
18   If -- if --                                        18      A. You --
19           MR. BRANTINGHAM: We do.                    19          MR. BRANTINGHAM: Object to the form of
20           MR. THOMPSON: -- you think I'm             20   the question. Go ahead and answer if you're
21   shouting and you think that it's so far out of     21   able.
22   line you need to terminate the deposition, do      22      A. You finished your --
23   it.                                                23          You are assuming. We are in front of
24           MR. BRANTINGHAM: I think you just          24   the cameras. You are assuming an answer that I
25   asked a question and then you followed it and --   25   did not make.


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 1       Q. Great. Then give me an answer.             1   looked to the data of that donor and I was in
 2       A. You are asking -- you are asking about     2   agreement with this -- with this selection.
 3   the general rules of the size matching between    3       Q. Okay. Do you have any clue how the
 4   recipients and donors.                            4   selection committee made that decision?
 5       Q. No, that was five minutes ago.             5         MR. BRANTINGHAM: He's just asking if
 6       A. And now --                                 6   you know how the committee made the decision,
 7          Don't interrupt me, please, for the --     7   doctor.
 8   you know, I'm telling you, --                     8       A. They're having their -- their, you
 9       Q. Just answer my question.                   9   know, parameters, you know, and making, you
10       A. -- don't --                               10   know, the multiple factors, you know, for the
11          MR. BRANTINGHAM: Hold on. Hold on.        11   recipient and the donors and they choose
12   Just stop here. Hold on.                         12   accordingly.
13       Q. You're not answering my question.         13       Q. Got it.
14          MR. BRANTINGHAM: Hold on.                 14         Okay. Do you know what those
15       Q. Now you're giving a speech.               15   parameters were that the donor committee -- or
16          MR. BRANTINGHAM: Hold on.                 16   the selection committee was using?
17       Q. Answer my questions.                      17       A. I know for myself, but you can reach
18          MR. THOMPSON: And this is my dep --       18   out to the selection committee and ask them
19          I get to run the deposition. When you     19   these questions.
20   take depositions, you can run the deposition     20       Q. Nope. I'm asking what your knowledge
21   however you like. If I think this witness is     21   is. So your answer is: No, I don't know what
22   not answering my questions, I'm well within my   22   parameters the selection committee used.
23   right to interrupt him and redirect him to the   23       A. This is not my answer.
24   question that I'm asking. And if you -- and      24       Q. Great. Okay. Then what is your
25   if --                                            25   answer?

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 1         Again, if you think I'm abusing him to      1       A. I know -- I know, you know, a lot of,
 2   the point that we need to terminate the           2   you know, information in my -- in my -- you
 3   deposition, do it. That's your remedy.            3   know, I'm in the medical field, I know. But
 4      Q. But you got to answer my questions.         4   they are, you know, they're specialized in this.
 5   The question before you has absolutely nothing    5       Q. Right. So I'll return --
 6   to do with general parameters. That was five      6         MR. BRANTINGHAM: Same objection.
 7   minutes ago. The question before you is really    7       Q. -- I'll return back to my question.
 8   simple, and I'll ask it again.                    8         Do you know what parameters the
 9         The question is: If you know, how was       9   selection committee used?
10   the decision made that this donor heart was an   10       A. They are using many parameters.
11   appropriate size for Noah Leopold?               11       Q. Great. Do you know any of them?
12         MR. BRANTINGHAM: You can go ahead and      12       A. Yes.
13   answer. And the question is if you know. If      13       Q. What?
14   you know.                                        14       A. From a blood group, size match.
15      A. Did you say "inappropriate" or             15       Q. Blood --
16   "appropriate?"                                   16       A. Yeah.
17      Q. Appropriate.                               17       Q. I'm talking about the size. We're just
18      A. Oh, okay. That was the selection           18   talking about the size.
19   committee selecting the donors for -- for our    19       A. The size match between the recipient
20   recipients.                                      20   and the donor, heart size, ventricular
21      Q. Is that your complete answer to my         21   diameters, you know, many of the things -- the
22   question?                                        22   things that I know, but they are the best to
23      A. Can -- can I make sure that your           23   judge the, you know, the most suitable donor for
24   question is totally? Because that was the        24   the recipient -- for that recipient.
25   decision of the selection committee, and I       25       Q. You're speaking in big-time


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 1   generalities here and we're going to be             1   know, I was fine with that -- with that donor
 2   specific. Do you --                                 2   for myself. I didn't see anything.
 3          So you've said heart size and then           3      Q. Are you finished?
 4   ventricular diameter were two of the parameters     4      A. Yes.
 5   that you think the selection committee looks at;    5      Q. I'm still waiting for the specific
 6   right?                                              6   parameters because you haven't given me one
 7      A. They are looking on a lot of factors          7   single one.
 8   relevant to the recipient and the -- and the        8      A. You can ask them for the details,
 9   donor.                                              9   because you are asking for the exact -- you
10      Q. I'm sure they are. I'm trying to             10   know, for all the parameters and there are many
11   figure out what knowledge you have of those        11   parameters.
12   factors other than just there's lots of factors    12      Q. I'm just --
13   and I rely on them to figure it out. And if        13         How about just one?
14   that's your answer, that's cool.                   14      A. I'm giving you.
15      A. No, that's not my answer.                    15      Q. What?
16      Q. Great.                                       16      A. The ventricular size.
17      A. Don't assume my answers.                     17      Q. Of the donor or the recipient?
18      Q. Great. Well then let's talk about it.        18      A. There should be matching between the
19          What specifically are the parameters        19   two.
20   that the selection committee used to decide this   20      Q. They should be, you're right.
21   was an appropriately-sized heart for Noah          21         Any other parameters that you can think
22   Leopold?                                           22   of?
23      A. Yes. There are many parameters that          23      A. But I'm telling you you can ask the
24   they consider. That's --                           24   selection committee for all the parameters and
25      Q. Such as?                                     25   I'm sure they will give you all the parameters.


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 1       A. You keep interrupting me.                    1         MR. BRANTINGHAM: So, doctor, if you
 2       Q. Go ahead.                                    2   don't yourself know what parameters they used,
 3       A. But you keep interrupting me, you know.      3   then you can just say that and that should be
 4       Q. I'm listening.                               4   the end of those questions, frankly.
 5       A. Can you listen to me?                        5       A. Yes. You can refer to the -- to the --
 6       Q. I'm tying. Go ahead.                         6   to the selection committee.
 7       A. I cannot answer you if you keep              7       Q. I know I can do that, but that's not my
 8   interrupting me, you know.                          8   question.
 9       Q. Answer my question, doctor.                  9       A. Uh-huh.
10       A. I'm answering your question, but don't      10       Q. My question is: Do you know any of the
11   interrupt me.                                      11   other parameters other than ventricular size?
12       Q. Go ahead. Tell me the parameters --         12       A. I give you the, you know, the blood
13       A. I mean --                                   13   grouping.
14       Q. -- specifically.                            14       Q. Right. But I'm talking about the size
15       A. I'm -- I'm --                               15   of the heart.
16           MR. BRANTINGHAM: He's asking, doctor,      16       A. You can -- you can ask the -- the
17   specifically what did the committee use. And       17   selection committee about all the measurements.
18   if -- if you don't know because you weren't        18       Q. I -- I --
19   there, that's fine, you can -- that can be your    19         But I know I can ask them that, but I'm
20   answer.                                            20   not asking them that right now. I'm asking you
21       A. The selection committee, they're having     21   because you're --
22   their parameters to choose the right donor for     22       A. Uh-huh.
23   the right recipient, and these parameters are,     23       Q. -- the one who's having your deposition
24   you know, for Mayo committee. And when I look      24   taken.
25   to the -- that donor I was, you know -- you        25       A. Uh-huh.


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 1       Q. Do you know any of the parameters that       1          Q. What other details were pertinent to
 2   the selection committee used to determine this      2      you with respect to this being an -- an
 3   was a size match other than ventricular size?       3      appropriate size other than ventricular size and
 4       A. Like the heart size.                         4      the heart size on the x-ray?
 5       Q. What -- what about the heart size?           5          A. I looked to all the pertinent details
 6       A. The heart size. The heart size.              6      and documents for this donor, and this donor was
 7       Q. That's different than the ventricular        7      optimum to us to choose.
 8   size?                                               8          Q. Yeah. Okay. Again, we're talking
 9       A. There is --                                  9      about size only. We're going to get to those
10         Yes, because the echo is a dif -- I          10      other factors in a minute.
11   mean the LV is an echo sizing, while the heart     11            If the only two things you looked at
12   size, we can measure it on the x-ray.              12      were the ventricular size on the echo and the
13       Q. Uh-huh. And you said you looked at the      13      heart size on the x-ray, that's okay, but I want
14   parameters yourself and you were satisfied that    14      to make sure I'm getting a complete answer. You
15   this was an appropriate-sized heart for Mr.        15      keep telling me no, no, I looked at everything,
16   Leopold.                                           16      I looked at everything that was pertinent. I
17       A. Yes, was appropriate.                       17      don't know what's pertinent to you. What else
18       Q. Yeah.                                       18      did you look at with respect to this being an
19       A. Uh-huh.                                     19      appropriately-sized heart?
20       Q. And so when you looked at the               20          A. Yes. I looked all -- for all the
21   parameters and satisfied yourself that this was    21      details in this donor, and when I'm saying that,
22   an appropriate-sized heart, you looked at the      22      I looked to the echo, I looked to the
23   ventricular size and then you looked at the        23      catheterization, I looked to the -- you know,
24   heart size. Did you look at anything else?         24      all the history and -- you know, for this
25       A. I looked, you know, to -- to the whole,     25      patient and to the lab tests, you know. So all


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 1   you know, documents for this donor on the -- on     1      these measures I looked at and I was confident
 2   the UNOS database.                                  2      that was a suitable organ to take for this
 3      Q. We're going to talk about lots of other       3      recipient.
 4   factors in a minute. We're just sticking with       4         Q. Did the respective weights between the
 5   heart size right now.                               5      donor and the recipient matter to you?
 6      A. Uh-huh.                                       6         A. Did what?
 7      Q. I want to a make sure I'm giving you an       7         Q. Weight. Their weight.
 8   opportunity to completely answer my question.       8         A. Oh, body weight.
 9      A. Yes.                                          9         Q. Yes.
10      Q. Were there any other parameters that         10         A. Yes.
11   you looked at other than ventricular size and      11         Q. Was that relevant to you?
12   heart size?                                        12         A. Yes.
13                                                      13         Q. Okay. So you saw that the donor was
14                                                      14      significantly heavier than Mr. Leopold; right?
15                                                      15            MR. BRANTINGHAM: Object to the form of
16                                                      16      the question.
17                                                      17         A. I can't remember the numbers, --
18                                                      18         Q. Okay.
19                                                      19         A. -- you know, in the weight for -- each
20                                                      20      body weight for it.
21      Q. -- things like that. We're sticking          21         Q. All right. Other than ventricular
22   with heart size, the donor size, appropriately-    22      size, heart size on x-ray, and body weight, any
23   sized heart.                                       23      other parameters relevant to determining the
24      A. I looked to all the donor details            24      size of the heart?
25   before leaving Rochester.                          25         A. I'm saying to you I am taking all the


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 1   documents --                                        1   not me. If you were going to draw up the
 2       Q. Okay.                                        2   perfect heart for you to go and procure, what
 3       A. -- and parameters of the -- of the           3   would be the cause of death?
 4   donor and looked at them, --                        4       A. That's your answer, it depends on
 5       Q. Okay.                                        5   circumstances of the -- of the donor. Because
 6       A. -- and all parameters of this donor          6   your -- your question --
 7   were optimum to be selected for this recipient.     7          For example, if I want to go and get a
 8       Q. Uh-huh. Okay.                                8   heart from a road traffic accident with multiple
 9          MR. BRANTINGHAM: Mr. Thompson's really       9   injuries, that's different story. So it depends
10   specifically asking about the size, doctor. So     10   on the circumstances of the -- of the donor.
11   any other factors that you can -- as you sit       11       Q. Yeah. No, I'm asking like in --
12   here today that you can recall that are specific   12          Paint me a picture of the perfect donor
13   to the size of the heart, setting aside the        13   heart in terms of cause of death.
14   other issues.                                      14       A. There are many circumstances that we
15          (Interruption by videographer.)             15   consider.
16          MR. BRANTINGHAM: If that's all you can      16       Q. I understand there's lots of
17   remember as you sit here, that's okay, just say    17   circumstances you consider. You can't tell me
18   so.                                                18   like this would be ideal? And if you can't,
19       A. Do you mean the echo measurements?          19   that's fine.
20   Because -- because when you are saying the size,   20          MR. BRANTINGHAM: And if you don't
21   it's -- it's -- is the medical term. For           21   understand the question, that's fine, too.
22   example, the aortic diameters, that's -- that's    22   Because it's --
23   a size for you, that's an echo measurement and     23       A. Can you --
24   that's important for us. The -- for example,       24          MR. BRANTINGHAM: He's asking you to
25   the ventricular septum, the -- the LV wall,        25   imagine a cause of death, what's the perfect way


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 1   these are all diameters. It's not sizes.            1   for somebody to die and then give up their
 2   Because you are asking about size. That's a         2   heart. I mean that's what he's asking.
 3   different story.                                    3       A. He's a -- he's a -- he's a donor, you
 4       Q. Uh-huh. Great. This is -- this is            4   know, and --
 5   what I'm talking about. So you were satis --        5          MR. BRANTINGHAM: Maybe a more specific
 6   how did --                                          6   question might get you where you're trying to go
 7         How was Noah Leopold's aortic diameter        7   here.
 8   measured?                                           8       Q. Sure. How about dying of an
 9       A. I can't remember the exact number.           9   intracranial hemorrhage is not optimal; is it?
10       Q. How would it be -- no, no. How would        10          MR. BRANTINGHAM: Object to the form of
11   it be measured?                                    11   the question.
12       A. There are two types of measurements,        12       A. I don't think, no.
13   echo, echocardiogram, or CT scan. One of them.     13       Q. Hmm?
14       Q. Okay. All right.                            14       A. No.
15         In looking at the UNOS donor records,        15       Q. No what?
16   you saw the cause of death of this donor; right?   16          MR. BRANTINGHAM: No was the answer to
17       A. I saw it.                                   17   the question which was: Dying of intracranial
18       Q. Cause of death is an important part of      18   hemorrhage is not optimal, comma, is it? The
19   assessing whether an organ is suitable for         19   answer was no.
20   transplantation; right?                            20          MR. THOMPSON: Right. But that could
21       A. It's part of them.                          21   be interpreted both ways.
22       Q. Uh-huh. And certain causes of death         22       Q. Are you agreeing with me that you're
23   are more optimal than others; right?               23   right, Mr. Thompson, intracranial hemorrhage is
24       A. Like what?                                  24   not optimal, or are you saying, no, Mr.
25       Q. Well you're the procurement surgeon,        25   Thompson, you're wrong, intracranial hemorrhage


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 1   doesn't matter?                                     1       Q. So just from the title of --
 2         MR. BRANTINGHAM: Or something else?           2           Maybe I'm a little bit unclear. Do you
 3   Those aren't the only choices.                      3   remember reading this article?
 4       Q. Or something else. Sure.                     4       A. I read, you know, many of the article
 5       A. Our donor was an optimum donor.              5   from Mayo, and I read something about, you know,
 6       Q. Wasn't my question. Okay? Wasn't my          6   survival with different, you know, causes of,
 7   question.                                           7   you know, death for the donors.
 8         MR. BRANTINGHAM: He's just asking you         8       Q. Okay.
 9   in the abstract, hypothetically, or in general,     9       A. Yes.
10   is dying of an intracranial hemorrhage an          10       Q. So I want you to listen carefully to
11   optimal --                                         11   the title of this article and tell me if this
12       Q. Yeah.                                       12   rings any bells for you. Okay?
13         MR. BRANTINGHAM: -- history for a            13       A. Okay.
14   donor.                                             14       Q. "Heart Transplant Recipients of Donors
15       Q. Or put it different -- let me ask --        15   with Intracranial Hemorrhage Have Worse
16         I'll put it a different way and maybe        16   Survival." First of all, does that ring any
17   make it easier.                                    17   bells to you?
18       A. Yes, make it.                               18       A. It's what -- what it says. It --
19       Q. Does intracranial hemorrhage have any       19           MR. BRANTINGHAM: He's just asking if
20   impact on survival post heart transplant using a   20   you remember that article, doctor, this
21   donor from an intracranial hemorrhage?             21   particular article.
22       A. No.                                         22       Q. Yeah. If that jogs your memory that
23       Q. Really?                                     23   maybe you looked at this abstract.
24       A. Yes.                                        24       A. I -- I read, you know, many articles
25       Q. Did you know that Dr. Villavicencio and     25   from here -- and that is from here and from


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 1   a Dr. Daly and a bunch of their colleagues          1   outside, and that's probably one of them.
 2   actually wrote an article entitled "Heart           2      Q. Okay.
 3   Transplant Recipients of Donors with                3      A. Uh-huh.
 4   Intracranial Hemorrhage Have Worse Survival?"       4      Q. Just from the title of the article,
 5   Have you ever heard of that?                        5   what do you think the conclusion probably was?
 6      A. Yeah. But -- but --                           6         MR. BRANTINGHAM: Object to foundation.
 7      Q. Have you heard of that article?               7      A. You can -- you can read. I can read
 8      A. I heard.                                      8   the article to give you the -- the conclusion.
 9      Q. Hmm?                                          9   I can read it, too.
10      A. Yes.                                         10      Q. Well the purpose of the study was: "We
11      Q. What was the conclusion of that study?       11   sought to determine if recipients of donors who
12         MR. BRANTINGHAM: If you know, doctor.        12   die due to intracranial hemorrhage have worse
13      Q. If you know.                                 13   outcomes post heart transplant." That's the
14         MR. BRANTINGHAM: Foundation.                 14   question I was just asking you; right?
15      Q. You said you're aware of it.                 15      A. The question --
16      A. I can't -- I can't remember exactly          16         The answer to your question, there are
17   there, but you will find a lot of studies about    17   many parameters that determine the suitability
18   this.                                              18   and the survival rate. You know, the
19      Q. Okay. Do you know what The Journal of        19   survival --
20   Heart and Lung Transplantation is?                 20      Q. Right. I'm just talking about one
21      A. Of course.                                   21   parameter.
22      Q. Do you subscribe to it?                      22         MR. BRANTINGHAM: Just let him answer.
23      A. I have many publications in this.            23      A. Don't interrupt me, please.
24      Q. You have many publications in it?            24      Q. I'm just talking about one parameter,
25      A. Yes.                                         25   and that --


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 1       A. I'm --                                       1         MR. BRANTINGHAM: Yeah. Let him ask
 2       Q. -- and that parameter is intracranial        2   the question. So now he's not asking you about
 3   hemorrhage. So I want to make sure we're on the     3   the article, he's just asking you --
 4   same page here. I'm not talking about whether       4         MR. THOMPSON: A question.
 5   there's a bunch of parameters, I'm talking about    5         MR. BRANTINGHAM: -- in general.
 6   intracranial hemorrhage. And the question that      6       Q. Listen to my question, please, --
 7   I asked you before was whether you agreed with      7       A. Uh-huh. Uh-huh.
 8   me that people who die from intracranial            8       Q. -- and then answer my question.
 9   hemorrhage have a worse outcome if that donor       9         Do you agree that, as a general
10   heart is used for a heart transplant, and you      10   concept, heart transplant recipients of donors
11   disagreed with me on that --                       11   with intracranial hemorrhage have worse
12          MR. BRANTINGHAM: That's actually not        12   survival?
13   true.                                              13       A. You are asking my opinion.
14          MR. THOMPSON: Oh, you're right.             14       Q. Yeah.
15       Q. No. I asked if -- if it had any             15       A. I --
16   impact. You said you didn't think it had any       16         MR. BRANTINGHAM: And I'll just object
17   impact.                                            17   to foundation. If you know, go ahead.
18          MR. BRANTINGHAM: No, actually you           18       A. I --
19   asked if it was optimal and he --                  19         You know, I don't think so, but
20          MR. THOMPSON: No, and then I asked          20   that's -- that needs to -- more evidence.
21   another question.                                  21       Q. Okay. So when you went to procure this
22          MR. BRANTINGHAM: Okay.                      22   heart for Mr. Leopold, --
23          MR. THOMPSON: But I'll ask it again.        23       A. Uh-huh.
24          MR. BRANTINGHAM: Let's not pretend          24       Q. -- the fact that the donor had died of
25   like we know what he said. Just ask a question.    25   an intracranial hemorrhage wasn't relevant to


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 1           MR. THOMPSON: I know exactly what he        1   you at all.
 2   said.                                               2         MR. BRANTINGHAM: Object to the form.
 3          MR. BRANTINGHAM: Okay.                       3      A. It is not irrelevant. It's part of the
 4          THE WITNESS: Uh-huh.                         4   whole story.
 5       Q. But I'll ask it again, now that you --       5      Q. Uh-huh.
 6   now that I've read you the title of this            6      A. It's -- it's part of the whole
 7   article.                                            7   circumstances. It's one of them --
 8       A. Uh-huh.                                      8      Q. Uh-huh.
 9       Q. Let me ask you this question.                9      A. -- we take in consideration.
10       A. Yes.                                        10      Q. So let me ask it a different way.
11       Q. Do you agree with me that heart             11      A. Yes.
12   transplant recipients of donors with               12      Q. Did the fact that the donor had died of
13   intracranial hemorrhage have worse survival?       13   an intracranial hemorrhage give you any pause
14       A. That --                                     14   whatsoever in making the decision about whether
15          MR. BRANTINGHAM: I will object to the       15   this was a suitable heart?
16   form and the foundation --                         16      A. It's part of the assessment that
17       A. That --                                     17   takes -- that's taken in consideration.
18          MR. BRANTINGHAM: -- and just note for       18      Q. Got it. Okay. Let's ask it a
19   the record that you're asking the witness about    19   different way then.
20   an article that you're not showing him.            20      A. Uh-huh.
21       A. That's the conclusion from the authors.     21      Q. When we are looking at a donor heart,
22       Q. No. I'm asking if you agree as a            22   there are some characteristics of that heart
23   general concept -- no, just -- shake your head     23   that we could put in the plus column, there's
24   all you like. You got to listen to my question.    24   some characteristics of the heart that we could
25       A. That's the conclusion of the authors.       25   put in the minus column, and then there's


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 1   probably some characteristics that don't matter     1   particular. As a cardiothoracic surgeon, who's
 2   one way or another. Am I right about that?          2   board certified in Jordan, is methamphetamine
 3       A. Okay.                                        3   use good for your heart?
 4       Q. For example, having an ejection              4       A. We don't advise people to take
 5   fraction of 65 percent, in and of itself we'd       5   amphetamine.
 6   put that in the plus column; right? That's a        6       Q. I understand that, and there would be
 7   good thing.                                         7   lots of reasons for that. I want to stick to my
 8       A. Correct.                                     8   question. Can --
 9       Q. All right. Having a blood type of the        9          As a Mayo Clinic cardiothoracic
10   same don -- of the same as the person who you're   10   surgeon, can you at least agree with the
11   trying to transplant it in, that goes in the       11   statement methamphetamine is not good for your
12   plus column; right?                                12   heart?
13       A. Right.                                      13       A. It's -- it's one of the literature
14       Q. A heart being from a young donor, a         14   that -- where at that -- methamphetamine had
15   25-year-old donor, that thing, in and of itself,   15   side effects --
16   that goes in the plus column; right?               16       Q. Uh-huh.
17       A. There are multiple factors, again,          17       A. -- on the -- on the body, and part of
18   because you're considering, you know, an           18   them is the heart.
19   absolute number, you know, but that's not an       19       Q. This is a really simple question. I'm
20   absolute thing.                                    20   just going to stick with my question.
21       Q. No, no. Fair enough.                        21       A. And --
22          But by and large, you would prefer to       22       Q. I want you to answer my question, and
23   have a heart -- all things -- all other things     23   if you can't answer it with a yes or no, you let
24   being equal, you'd prefer it to be from a          24   me know.
25   25-year-old than a 65-year-old; right?             25          Do you agree that methamphetamine is

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 1       A. That's correct.                              1   not good for your heart?
 2       Q. Perfect.                                     2      A. It has a side effect that may impact
 3       A. If you are putting this -- this              3   the heart.
 4   parameter.                                          4      Q. Why can't you just answer my question?
 5       Q. Great. Okay. So now let's talk about         5      A. I'm answering you.
 6   intracranial hemorrhage.                            6      Q. Okay. So I'm going to ask it again.
 7       A. Yes.                                         7   And if you think it can't be answered with a yes
 8       Q. When you went to procure this heart for      8   or no, you let me know. Okay?
 9   Mr. Leopold's transplant, was intracranial          9      A. Sure.
10   hemorrhage in the plus column, in the minus        10      Q. You understand?
11   column, or it just didn't matter one way or        11      A. I understand.
12   another?                                           12      Q. You understand I'm looking for a yes or
13       A. In the area in between.                     13   a no?
14       Q. Great. How about the fact that the          14      A. I understand.
15   donor was a meth addict?                           15      Q. And you understand that if you don't
16       A. What was that?                              16   think it can be answered with a yes or a no, you
17       Q. A meth addict, methamphetamine.             17   are to tell me; right?
18           Methamphetamine's bad for your heart;      18      A. I'm supposed here to give you the right
19   isn't it?                                          19   and accurate answers.
20       A. Oh, yeah. Oh, okay. You talking about       20      Q. Yeah.
21   the drugs now.                                     21      A. Right?
22       Q. Methamphetamine is not good for the         22      Q. To my questions.
23   heart, is it, as a general concept?                23      A. To your questions.
24       A. You are talking about drugs. Right?         24      Q. My question is, yes or no, is
25       Q. Yeah. I'm talking about one drug in         25   methamphetamine good for your heart?


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 1      A. I'm telling you, all the literature is        1   ejection fraction of 60 to 65 percent was in the
 2   saying methamphetamine may have side effects on     2   plus column; right?
 3   the body and the heart as one of the organs in      3      A. That's correct.
 4   the body.                                           4      Q. The fact that this donor had the same
 5      Q. Add --                                        5   blood type that -- as Mr. Leopold was in the
 6         MR. BRANTINGHAM: So, doctor, does that        6   plus column; right?
 7   mean you're not comfortable answering that          7      A. That's a yes. Of course.
 8   question yes or no, your answer is the one you      8      Q. The fact that he didn't have -- this
 9   just gave?                                          9   donor didn't have any structural abnormalities
10         THE WITNESS: No. I'm -- I'm telling          10   in his heart was in the plus column; right?
11   him what I know and -- and the true answer.        11      A. Yes.
12         MR. BRANTINGHAM: Okay.                       12      Q. Can you and I agree that the fact that
13      Q. And that's an adverse side effect on         13   he was a meth addict goes in the minus column?
14   the heart; right?                                  14         MR. BRANTINGHAM: Object to form.
15      A. Yes.                                         15      Q. For this donor for Mr. Leopold.
16      Q. Yes. And so if we're going back to our       16      A. You are assuming something that the
17   plus/minuses, certainly we can agree that being    17   methamphetamine having a side effects --
18   a meth addict goes in the minus column; right?     18      Q. No, I'm not.
19         MR. BRANTINGHAM: Object to the form,         19      A. -- on the heart.
20   foundation. Do you understand the question?        20      Q. I'm not.
21         THE WITNESS: I answered him.                 21         MR. BRANTINGHAM: Just let him ask the
22      A. Amphetamine may have side effects on         22   question.
23   the body, and part of this is the heart.           23      Q. I'm asking a really simple question.
24      Q. Yeah. It's a different question now          24         When you went to procure this heart for
25   though.                                            25   Mr. Leopold, --


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 1         MR. BRANTINGHAM: Now he's trying to           1       A. Uh-huh.
 2   ask how -- what is the relevance of a donor's       2       Q. -- did it cross your mind that the fact
 3   history of methamphetamine use --                   3   that this guy was a meth addict may be a
 4         THE WITNESS: Uh-huh.                          4   negative for this heart?
 5         MR. BRANTINGHAM: -- in terms of               5         MR. BRANTINGHAM: Okay. So make sure
 6   assessing suitability of the heart.                 6   you understand that question, doctor. Just
 7         MR. THOMPSON: Yeah.                           7   answer that question.
 8         MR. BRANTINGHAM: He's just asking in          8       A. I told you, methamphetamine may have
 9   general I think.                                    9   side effects on the -- on the body and part of
10         MR. THOMPSON: No, my --                      10   the heart. That doesn't mean that it has its
11         No, no. My question is for this              11   side effects on that donor.
12   patient.                                           12       Q. I understand all that. None of that
13         MR. BRANTINGHAM: Oh, okay.                   13   was my question.
14         MR. THOMPSON: This is -- this is --          14         My question was: For this donor, for
15         So let me -- let me ask my question,         15   this patient, was it at least relevant to you
16   please.                                            16   that this donor was using IV meth and smoking
17         MR. BRANTINGHAM: Sure.                       17   meth weekly for the last six years?
18         THE WITNESS: Yes.                            18         MR. BRANTINGHAM: Hold on a second.
19      Q. We're back to our plus column, minus         19   That wasn't your question.
20   column, or it doesn't matter one way or another.   20         MR. THOMPSON: It is now.
21   You told me that for Mr. Leopold, intracranial     21         MR. BRANTINGHAM: So now this is a new
22   hemorrhage was in the middle, doesn't matter one   22   question.
23   way or another; right?                             23       A. It's a new one.
24      A. Yes.                                         24       Q. Yeah. I'm going to see if I can get a
25      Q. The fact that this donor had an              25   straightforward answer to this question.


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 1      A. I'm giving you --                             1          MR. BRANTINGHAM: Plus, minus, or in
 2         MR. BRANTINGHAM: Well you could ask a         2   the middle.
 3   much more straightforward question, frankly.        3        Q. Which column does it fall in?
 4         So can we just -- let's read back that        4          MR. BRANTINGHAM: Or something else.
 5   question, really focus on the specific question,    5        A. I'll put them in the middle.
 6   and answer that specific question.                  6        Q. Being a weekly meth user wasn't a plus
 7         (Record read by the reporter.)                7   and it wasn't a minus, just wasn't relevant at
 8      Q. Was it relevant?                              8   all.
 9         MR. BRANTINGHAM: I just object to             9        A. There are --
10   foundation.                                        10          MR. BRANTINGHAM: Object to the form of
11      A. We take all the data and documents for       11   the question.
12   the donors and we like to know every aspect of     12        Q. Don't tell me there are many things --
13   the donor to know.                                 13          MR. BRANTINGHAM: Just hold on -- hold
14      Q. Great. And the reason that you like to       14   on, doctor.
15   know every aspect of the donor is so that you      15        Q. -- because I'm asking about one thing.
16   can use those aspects as part of your assessment   16          MR. BRANTINGHAM: Again, if you would
17   about whether this is a suitable organ; right?     17   restrict yourself to asking questions, Brandon.
18      A. For the whole assessment.                    18          MR. THOMPSON: I am.
19      Q. Right. Okay. So now back to the              19          MR. BRANTINGHAM: Shouting at the
20   question that I think is pretty doggone simple.    20   witness "don't tell me this and that" --
21         Let's do it this way: Does meth go in        21          MR. THOMPSON: I shouldn't have to.
22   the plus column?                                   22        Q. Doctor, this -- I know --
23         MR. BRANTINGHAM: I'll object to the          23          MR. BRANTINGHAM: Hold on just one
24   form of the question. Do you understand the        24   second. This is not cool. Okay? It's not
25   whole plus column/minus column --                  25   okay. You don't get to -- however you want to


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 1          MR. THOMPSON: Of course he does,             1   call it, shouting, whispering.
 2   because he --                                       2          MR. THOMPSON: Okay.
 3          MR. BRANTINGHAM: -- thing he's talking       3          MR. BRANTINGHAM: Telling the witness
 4   about?                                              4   "don't tell me X, Y and Z" is deeply
 5       Q. Of course you understand it, because         5   inappropriate questioning. It really is.
 6   you've told me --                                   6          MR. THOMPSON: I disagree with you.
 7          MR. BRANTINGHAM: Just hold on.               7          MR. BRANTINGHAM: Okay.
 8       Q. -- you told me that the good ejection        8          MR. THOMPSON: So --
 9   fraction was a plus, that the blood type            9          And it's fine. You and I can disagree
10   compatibility was a plus, that the lack of         10   with one another.
11   structural abnormality was a plus. You told me     11          MR. BRANTINGHAM: We sure can. We do.
12   all those things. Right? And you told me that      12          MR. THOMPSON: I think --
13   intracranial hemorrhage wasn't a plus or a         13          So I think that what's happening here
14   minus, it was in the middle. Right?                14   is I've got a witness who is perfectly happy to
15       A. Right.                                      15   give straightforward answers to questions that
16       Q. Yeah. You understand the plus, minus,       16   he thinks are helpful, --
17   and in the middle; don't you?                      17          MR. BRANTINGHAM: Uh-huh.
18       A. Yes.                                        18          MR. THOMPSON: -- and when there's
19       Q. Great. Tell me which of those columns       19   questions that he doesn't want to answer,
20   the fact that this dude was a meth addict falls    20   because he knows that the truthful answer to the
21   into.                                              21   question is problematic for him, --
22          MR. BRANTINGHAM: And by "dude" he           22          MR. BRANTINGHAM: Uh-huh.
23   means the donor.                                   23          MR. THOMPSON: -- he's dancing around
24          THE WITNESS: The donor. Okay.               24   it.
25       Q. Which --                                    25          MR. BRANTINGHAM: Yeah.


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 1         MR. THOMPSON: And -- and that's fine.        1   inhaled methamphetamine at least weekly for at
 2   He can try to do that for as long as he wants      2   least the last six years. Do you understand
 3   to. I'm entitled to call him on that.              3   that?
 4         MR. BRANTINGHAM: Sure.                       4       A. I understand that.
 5         MR. THOMPSON: And I'm entitled to ask        5       Q. You understand that I am asking you
 6   the questions in the way that I want to ask the    6   whether you as a cardiac surgeon would put that
 7   questions. And again, if you think I'm way out     7   weekly meth abuse as a plus for a heart, as a
 8   of line, that's fine, I get it. We haven't even    8   minus for a heart, or as having no relevance to
 9   gotten into the hard stuff yet.                    9   a heart. Right? Do you understand that?
10       Q. So you know darn well what the plus,       10       A. I understand.
11   minus, and in the middle thing is. And is it      11       Q. Thank you. You understand that.
12   really your testimony, under oath as a            12       A. Yes.
13   cardiothoracic surgeon, that the fact that        13       Q. So which column would you put it in?
14   somebody was a meth addict who was using meth     14       A. You --
15   weekly for at least the past six years has no     15          The way you are putting the columns, I
16   relevance whatsoever to your decision about       16   cannot do that your way, but I can tell you my
17   whether this was going to be a suitable heart     17   answer. Your answer -- your question should be
18   for this patient?                                 18   answered, but it depends on the way you deliver
19       A. That --                                    19   your question. So if you put these columns --
20         MR. BRANTINGHAM: Object to form and         20   these columns, okay, the gray area in between,
21   foundation. Go ahead and answer the question,     21   it's -- it's a gray area. Okay? This gray area
22   doctor.                                           22   may be, you know, to the -- to the negative or
23       A. That --                                    23   to the right -- to the positive. Right?
24         MR. BRANTINGHAM: He's asking if it has      24       Q. Uh-huh.
25   no relevance whatsoever.                          25       A. It's not the whole gray area.


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 1      A. That's not true.                             1   That's -- that's my answer to you.
 2      Q. Okay. So it does have relevance.             2      Q. Perfect.
 3      A. Because --                                   3         So with respect to methamphetamine
 4      Q. Hold on. Does it have relevance?             4   abuse, would that be more towards the negative
 5      A. Let me -- let me continue.                   5   side of the gray area?
 6   Otherwise --                                       6      A. I can tell you we can put it in the
 7          MR. BRANTINGHAM: Just start with            7   gray area. In that gray area.
 8   just -- just that one.                             8      Q. Okay. More to the positive side of the
 9          MR. THOMPSON: Yeah.                         9   gray area?
10          MR. BRANTINGHAM: And then little           10      A. I can't --
11   pieces is what's going to get this done. So       11         You know, there are multiple
12   does it have relevance? I think you said -- go    12   circumstances that we take together. It's not
13   ahead.                                            13   one factor.
14      A. Yeah.                                       14      Q. Right. But I'm asking you about one
15          MR. BRANTINGHAM: Okay. Start with          15   factor.
16   that. Let him ask another question.               16      A. I'm --
17      A. I'm telling about all these factors --      17      Q. I'm asking you just about the
18      Q. Hold on. Hold on. Hold on. Don't --         18   methamphetamine.
19          You got to just listen to my question.     19      A. I'm ask -- I'm answering you --
20   I'm not asking about all these factors. I'm not   20         MR. BRANTINGHAM: And so --
21   asking about stuff in the aggregate. I'm asking   21         Just hang on one second. What's the
22   you about one factor. Do you understand that?     22   actual question, more to the -- more to where?
23      A. I understand.                               23      Q. You -- you just got done telling me
24      Q. Okay. The one factor I am asking you        24   that when we're in this gray area, some of it is
25   about is the donor's history of using IV and      25   more to the positive of the gray area and some


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 1   of it is more to the negative of the gray area.     1      A. Your next question.
 2   I'm asking you to do that exercise with respect     2      Q. My question is: As a cardiac
 3   to methamphetamine abuse.                           3   surgeon, --
 4          MR. BRANTINGHAM: Okay.                       4      A. Yes.
 5       Q. Is it more to the positive side of the       5      Q. -- what's worse for your heart, being a
 6   gray area or more to the negative side?             6   pack-and-a-half-a-day smoker or abusing meth
 7       A. It's in the gray area. If you want           7   every week for six years?
 8   to -- you know, specifically in this, you know,     8      A. All these are risks factors.
 9   in this area, I'll put it little bit to the         9      Q. I understand that. I'm asking you
10   negative side.                                     10   which one's worse for your heart.
11       Q. Thank you.                                  11      A. I know your question, and I'm answering
12          How about the fact that he abused           12   you. All are these -- these are risk factors on
13   marijuana?                                         13   the heart.
14          MR. BRANTINGHAM: "He" being the donor.      14      Q. Right. My question is: What's worse
15       Q. "He" being the donor.                       15   for your heart?
16          Is that in the gray area, too?              16      A. Uh-huh.
17       A. In the gray area.                           17      Q. Let me finish.
18       Q. More to the negative or more to the         18      A. I'm not talking. I'm not interrupting
19   positive side of the gray area?                    19   you like you do.
20       A. The same answer.                            20      Q. What's worse for your heart, smoking a
21       Q. More to the negative.                       21   pack and a half a day of cigarettes for seven
22       A. To the same answer like the gray area.      22   years or abusing meth weekly for six years? If
23       Q. Yeah. More to the negative side.            23   you know.
24       A. Yes.                                        24         MR. BRANTINGHAM: And if you're not
25       Q. Yeah. How about the fact that he was a      25   able to answer that in the abstract, doctor, you


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 1   convicted felon who was incarcerated for            1   can just say so.
 2   20 years of his 40-year life, is that a             2       A. I'm telling you, these two factors are
 3   positive, a negative, or in the gray area?          3   risk factors for the heart. That's all.
 4      A. Gray area.                                    4       Q. Got it.
 5      Q. Okay. More to the positive side of the        5         You can't tell me which one's worse;
 6   gray area or more to the negative side?             6   right?
 7      A. It's to the negative side.                    7       A. Both of them they are having risk.
 8      Q. Yeah.                                         8       Q. You can't tell me which one is worse.
 9         Opioid use; positive, negative, or gray       9   What you can tell me is they're both bad --
10   area?                                              10       A. Yes.
11      A. Gray area.                                   11       Q. -- for your heart.
12      Q. More to the positive or more to the          12       A. Yes.
13   negative side of the gray area?                    13       Q. So how about the fact that he had taken
14      A. The negative.                                14   LSD and mushrooms, would that be in the gray
15      Q. The fact that he was a cigarette             15   area?
16   smoker, pack-and-a-half-a-day smoker, cigarettes   16       A. I don't -- I don't think that's
17   are not good for you heart; are they?              17   something --
18      A. They are not good.                           18         It's part of the history.
19      Q. It's like one of the worst things you        19       Q. Yeah. Would that be positive,
20   can do for your heart other than maybe taking      20   negative, or gray area?
21   cocaine or maybe meth; right?                      21       A. I don't think we --
22         MR. BRANTINGHAM: Object to the               22         It's in the gray area.
23   foundation.                                        23       Q. Is it more to the positive side or more
24      Q. Well if you know. What's worse for           24   to the negative side?
25   your heart, cigarettes or meth?                    25       A. It's in the middle.


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 1      Q. In the middle.                               1       A. Sure.
 2         Back to intracranial hemorrhage,             2       Q. Do you have any idea what liver
 3   because we talked about that before we got into    3   dysfunction does to your odds of undergoing a
 4   the shading of the gray area.                      4   successful heart transplant?
 5      A. Uh-huh.                                      5         MR. BRANTINGHAM: Object to foundation
 6      Q. Would intracranial hemorrhage as the         6   and form.
 7   cause of death for this donor be more on the       7       A. We have the selection committee and
 8   negative side of the gray area at least?           8   the, you know, surgical committee doing heart
 9      A. I'll put it in the midline little bit.       9   and lung transplant -- heart and the liver
10      Q. Little bit negative.                        10   transplant also. You can direct this question
11      A. On the midline.                             11   directly to them.
12      Q. So just right in the middle.                12       Q. Well I'm directing it to you.
13      A. Yes.                                        13       A. Okay.
14      Q. Alcohol use, where does that fall?          14       Q. Do you know anything about what liver
15      A. Gray area.                                  15   dysfunction does in terms of predicting heart
16      Q. More to the negative.                       16   transplant outcomes?
17      A. More to the negative.                       17       A. We know that, you know, that the
18      Q. Yeah.                                       18   outcomes are, you know, are good if we have, you
19         You knew that Noah Leopold was under        19   know, a good liver, good heart, good lungs, you
20   consideration for a liver transplant, too;        20   know, as any organ.
21   right?                                            21       Q. Right. And the converse is also true,
22      A. You can check the documents.                22   if you've got liver issues, that is a poor
23      Q. I'm asking you if you were aware of         23   prognostic factor for successful heart
24   that.                                             24   transplant; is it not?
25      A. I'm aware.                                  25         MR. BRANTINGHAM: Object to form and


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 1       Q. Okay. What does having liver                1   foundation, particularly with respect to the
 2   dysfunction do in terms of risk factors for        2   phrase "liver issues."
 3   heart transplant?                                  3       Q. Let's talk about one specific liver
 4       A. What's that?                                4   issue. Do you know what cirrhosis is?
 5       Q. What does liver dysfunction do in terms     5       A. Yes, I do.
 6   of a risk factor for a heart transplant?           6       Q. What is cirrhosis?
 7       A. We have an expert hepatologist. You         7       A. It's an end-stage liver disease.
 8   can -- you can direct these questions if you       8       Q. What if anything does having a
 9   want to get the -- the best answers to your        9   cirrhotic liver do for your odds of being able
10   questions.                                        10   to have a successful heart transplant?
11       Q. That's fair, but I'm asking you. Do        11       A. Can you repeat your question?
12   you -- and if you don't know, that's fine.        12       Q. What if anything does having a
13       A. We have --                                 13   cirrhotic liver do to your odds of having a
14          MR. BRANTINGHAM: Do you have the           14   successful heart transplant?
15   question in mind? Do you -- we can have it read   15         MR. BRANTINGHAM: Foundation.
16   back.                                             16       A. Can you repeat your question? I cannot
17       Q. Do you know what my question is?           17   understand your question.
18       A. Just to -- just to understand that you     18       Q. Can't understand it?
19   are saying the right question -- I understand     19       A. Yes, I cannot.
20   the right question that you are asking.           20       Q. Okay. Is having a cirrhotic liver good
21       Q. Yeah. So let me -- let me just ask it      21   or bad for your odds of having a successful
22   a different way --                                22   heart transplant?
23       A. Sure.                                      23         MR. BRANTINGHAM: Form and foundation.
24       Q. -- so we make sure you and I are on the    24       A. If you want to put it on the negative
25   same page.                                        25   or positive, I will put it in the negative --


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 1       Q. Yeah.                                        1   those words, doctor, that's --
 2       A. -- column.                                   2       Q. It's a pretty -- pretty obvious
 3       Q. Not even in the gray area; right?            3   concept.
 4       A. Because you are saying something -- you      4         MR. BRANTINGHAM: -- that's the only
 5   know, you are saying liver cirrhosis.               5   question.
 6       Q. Uh-huh. I am.                                6       A. Can I read the article?
 7       A. But in the medical terms where -- when       7       Q. No. You can answer my question.
 8   we are talking about that, you know, sometimes      8       A. I -- I need to read the article to --
 9   the liver gets improved after the heart             9         MR. BRANTINGHAM: Doctor, if the answer
10   transplant. So that's two different stories.       10   is you don't remember --
11   So that's why your question is a little bit, you   11       Q. Yeah.
12   know, wide.                                        12         MR. BRANTINGHAM: -- the words as you
13       Q. Do you agree that liver biopsy is           13   sit here, that's fine.
14   usually required to rule out cirrhosis in          14       A. I can't remember. I can't remember the
15   patients who have liver disease and being          15   words.
16   considered for heart transplant because            16         MR. BRANTINGHAM: There you go.
17   cirrhosis is a contraindication for isolated       17       Q. You can't remember.
18   heart transplant?                                  18       A. I have many articles, you know. I
19         MR. BRANTINGHAM: Object to foundation.       19   don't know.
20       A. You can ask the select -- the --            20       Q. That -- that's great.
21       Q. I'm asking you because I'm reading it       21         As a general statement, do you
22   from an article that you're one of the authors     22   understand that having cirrhosis of the liver is
23   on.                                                23   a contraindication for heart transplant?
24       A. Yes. I -- I'm an author on this --          24       A. It's one of the negative sides.
25   on this --                                         25       Q. Right.


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 1       Q. So why can't you just give me a              1           MR. BRANTINGHAM: Okay. Can we pause
 2   straightforward answer to this question?            2   here?
 3       A. Yes.                                         3         MR. THOMPSON: Yeah.
 4       Q. You're -- you're an author on this           4         MR. BRANTINGHAM: We're now about an
 5   article; right?                                     5   hour past the noticed time for your next
 6       A. Yes.                                         6   witness.
 7          MR. BRANTINGHAM: Why don't you show          7         MR. THOMPSON: Uh-huh.
 8   him. Let him look at the article.                   8         MR. BRANTINGHAM: What's your plan?
 9       Q. And the article is "Model for end-stage      9   Like how are we going to do this?
10   liver disease excluding international normalized   10         MR. THOMPSON: So --
11   ratio score predicts heart transplant outcomes."   11         MR. BRANTINGHAM: Because I don't want
12   Do you remember this article?                      12   medical personnel sitting here in the wings
13       A. I remember this article, but I need to      13   wasting time.
14   read it.                                           14         MR. THOMPSON: Yeah. No, I appreciate
15       Q. My question just was do you remember        15   that. I think I've probably got -- I mean some
16   this article. Thank you. You've answered my        16   part of it depends on how I get answers to my
17   question.                                          17   questions.
18          Do you remember that one of the things      18         And we can go off the record.
19   that the authors, including you, said in this      19         THE REPORTER: Okay. Off the record.
20   article is that having a cirrhotic liver is a      20         (Discussion off the record.)
21   contraindication for having an isolated heart      21         THE VIDEOGRAPHER: We're on video.
22   transplant?                                        22         THE REPORTER: We're back on the
23       A. Can I read this article?                    23   record.
24       Q. I'm just asking if you remember that.       24   BY MR. THOMPSON:
25          MR. BRANTINGHAM: Just do you remember       25      Q. All right. So the donor's use of two


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 1   to 30 beers per day for the last three years,       1      Q. Okay. Anything else?
 2   would that be in the plus column, the minus         2      A. That's one of them.
 3   column, the gray area? Where would that be?         3      Q. I know that's one of them. Anything
 4      A. Put it in the gray area. More towards         4   else that you can think of as you sit here?
 5   the, you know --                                    5      A. Function of the heart on the echo.
 6      Q. More towards the negative.                    6      Q. Something other than ejection fraction?
 7      A. Yes.                                          7      A. I mean because the echo say it's a good
 8      Q. Yeah.                                         8   contracting heart --
 9         And then do you remember what the donor       9      Q. Uh-huh.
10   had in his system in terms of drugs like at the    10      A. -- in addition to the ejection
11   time that they did a tox screen in the hospital?   11   fraction. That's what I mean.
12      A. Definitely. I had -- I had a look            12      Q. Anything else --
13   and -- and details about that donor, but I can't   13      A. Yes.
14   recall exactly right now to answer you.            14      Q. -- as you sit here today? And if you
15      Q. All right. I assume that the fact that       15   can't think of anything else while you sit here
16   he had methamphetamine, amphetamine, cannabis,     16   today, that's okay.
17   MDMA, and fentanyl all in his system on the tox    17      A. Like a -- aortic diameters. That's the
18   screen in the hospital, those would at the very    18   size that you were asking about --
19   least be on the negative side of the gray area;    19      Q. Yep.
20   right?                                             20      A. -- and I was telling you you are asking
21      A. I told you these are all in the              21   about the size, these are the diameters, I mean.
22   negative -- in the -- I'm sorry -- in the gray     22      Q. How much of a mismatch would there have
23   area.                                              23   to be between the donor and the native aorta for
24      Q. What -- what if anything would you           24   you to think that's a problem, that's going in
25   consider to be something that would be actually    25   the negative column?


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 1   in the negative column, just not on the gray-       1       A. It's --
 2   area-side negative column?                          2         I mean I can recall that was -- that
 3       A. Yes. The negative -- the negative            3   was, you know --
 4   part, you know, what I mean, all the factor         4         I mean the aortic size, our aim is to
 5   that -- the factors that you are mentioning,        5   be less than four to four and a half.
 6   they are not -- we don't deny organs, you know,     6       Q. Four to four and a half what?
 7   based on this, so --                                7       A. Centimeters diameter.
 8       Q. Fair. That wasn't my question though.        8       Q. Is the difference in size between the
 9          Can you think of anything that if I          9   recipient's aorta and the donor's aorta
10   said "What about this?", you would say "Yep,       10   relevant?
11   that's solidly in the negative column?"            11       A. Of course. But -- but there was a
12       A. There are multiple --                       12   match in between these two. I mean the whole
13          You know, the whole circumstances of        13   measurements --
14   the donor, you know, we take in consideration      14         I can recall, you know, the whole
15   and we say this is, you know, suitable to take     15   assessment for this donor was matching this
16   or not.                                            16   recipient.
17       Q. No, I get that. But when I asked you        17       Q. I understand that. I'm not talking
18   about a 65-percent ejection fraction, that         18   about this donor. I'm talking about in general.
19   wasn't in the gray area. That was solidly in       19   What --
20   the positive column; right?                        20         How much of a mismatch would there have
21       A. That's correct.                             21   to be before you would be concerned enough to
22       Q. Okay. What if anything could I give         22   put aortic size in the negative column?
23   you as a risk factor that you would say, "Woo,     23       A. Again, the whole circumstances of the
24   boy, that's solidly in the negative column?"       24   donor, the whole circumstances of the
25       A. Probably low ejection fraction.             25   recipients.


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 1      Q. So you just can't --                          1       Q. Please.
 2      A. They are all together.                        2       A. Yes. Because the OCS machine is big
 3      Q. -- just can't give me an answer.              3   and we have another instrument, so what we go is
 4      A. All together.                                 4   two cars between the hospital --
 5      Q. All right. I assume that you were             5       Q. Yeah.
 6   never any part of any informed-consent              6       A. -- and to the airport, and from the
 7   discussions with Mr. Leopold or his family.         7   airport to the hospital. So we do two cars, but
 8      A. No, I was not.                                8   the two cars are together.
 9      Q. You know, I presume, that there has           9       Q. Sure. So then the answer to my earlier
10   been a suggestion made in this case that you and   10   question, which was you weren't actually there
11   Dr. Knop were essentially sleeping for most of     11   with the heart in the --
12   the flight back from Idaho. You know that;         12          Is it an ambulance? Does the heart go
13   right?                                             13   in the OCS in an ambulance from the hospital to
14          Is this the first time you're hearing       14   the airport?
15   about that?                                        15       A. No, it's an SUV most of the time, 95
16      A. Who said that?                               16   percent. Yes.
17      Q. Danielle Fay and Michael Pick, the           17       Q. Perfect. All right. The SUV that
18   other two people who were on the airplane.         18   actually had the heart, the heart that's beating
19      A. No, I'm -- I'm not aware of this. No.        19   that you're responsible for determining whether
20      Q. Okay. Is it true?                            20   this is an appropriate heart, you weren't
21      A. We are in the airplane.                      21   actually with the machine in the car from the
22      Q. Huh?                                         22   hospital to the airport; right?
23      A. We are in the airplane, we are beside        23          MR. BRANTINGHAM: Object to the form of
24   the heart, and we're having a specialist to        24   the question. Go ahead.
25   manage the OCS machine for all the aspects. And    25       A. I can't remember exactly, I mean, which


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 1   he is the expert in that, and we are beside him,    1   car I was in, --
 2   not away from him, and if he needs us, we are       2       Q. Uh-huh.
 3   beside him to, you know, to help him in -- in       3       A. -- but I was with -- you know, in one
 4   every aspect.                                       4   of the cars that, you know, covering, but we
 5       Q. Okay. I'm going to ask you some really       5   have the specialist for the OCS machine that can
 6   straightforward questions here; --                  6   run the OCS machine, and she can, you know,
 7       A. Go ahead.                                    7   inform us, communicate with us easily and we are
 8       Q. -- okay?                                     8   reachable to her at any time.
 9       A. Go ahead.                                    9       Q. Okay. Again, I'm trying to ask really
10       Q. Really straightforward questions.           10   straightforward questions here so that we can
11       A. Go ahead.                                   11   get through the rest of this deposition. My
12       Q. Number one, were you with the heart         12   question didn't have anything to do with
13   when it went on the ground from the hospital in    13   anything other than whether you were in the car.
14   Idaho to the airport in Idaho?                     14   I think your answer is "I don't remember for
15       A. Yes.                                        15   sure;" right?
16       Q. So if there were text messages from         16         MR. BRANTINGHAM: Which car you were
17   Dan --                                             17   in.
18         You know who Danielle Fay is; right?         18       A. Which car I was in, but --
19       A. Yes.                                        19       Q. Okay.
20       Q. If there is a text message from             20       A. -- I was in one of the cars.
21   Danielle Fay saying that you and Knop didn't       21       Q. Perfect.
22   ride with the heart on either ground commute, do   22         If Danielle Fay says neither surgeon
23   you have any idea what she could be talking        23   were in the car, I'm assuming you wouldn't have
24   about?                                             24   any reason to dispute her.
25       A. Can I explain that to you?                  25       A. If she said that, probably she -- she


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 1   literally asked for two or three of the lactates    1         MR. BRANTINGHAM: Object to the form of
 2   during the whole trip. Are you going to             2   the question.
 3   disagree with her on that?                          3      A. You can read the operative note. You
 4       A. I can't remember exactly how many            4   can ask Dr. Villavicencio about that, you know,
 5   lactates we -- we remember, but we usually are      5   because there are many details in the operative
 6   alarmed if there is any deviation of the lactate    6   note.
 7   numbers by the technician that this is something    7      Q. I'm going to. But that wasn't my
 8   going not -- not in the right way. And in that      8   question.
 9   donor in particular, all the numbers were going     9      A. Yes.
10   in the right way.                                  10      Q. My question was: When did you find out
11       Q. None of that was my question though.        11   about it?
12   My question had to do with you and Dr. Knop        12      A. Yeah. I mean after we came back, I
13   asking for the actual lactate values.              13   be -- just I was reading, as you are reading,
14          If Danielle Fay says that you asked for     14   the operative notes and I found that there
15   two or three of the values for the entire trip,    15   was -- that was a problem.
16   are you going to disagree with her? Are you        16      Q. Dr. Villavicencio didn't call you?
17   going to dispute it?                               17      A. No. I can't remember.
18       A. I can't recall exactly.                     18      Q. Okay.
19       Q. Great.                                      19      A. I can't recall that.
20          Did you tell Dr. Villavicencio that the     20      Q. Okay. So you think the first time that
21   lactates were anything other than good?            21   you heard about this heart that you brought back
22       A. I can't remember, you know, the time of     22   from Idaho literally falling apart during the
23   communication, but I can attest that, you know,    23   surgery is when you read about it in the
24   the surgeon has -- has communication once we       24   operative report. You don't think Villavicencio
25   arrive in Rochester in a way that this is the      25   called you and asked you about it before you


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 1   heart, this is something.                           1   looked at the operative report?
 2       Q. None of that was my question.                2        A. I can't --
 3       A. What's your question?                        3          MR. BRANTINGHAM: Hang on. Object to
 4       Q. Reading these -- reading these text          4   the form and the foundation and it's compound.
 5   messages --                                         5   Go ahead if you're able to answer that question.
 6       A. Yes.                                         6        A. I can't recall those events.
 7       Q. And we're going to depose other people.      7        Q. Do you --
 8   You're the first person we're deposing. We're       8        A. I mean the exact timing and sequence of
 9   going to find out from other people.                9   timing, I can't remember that.
10         My impression from reading these text        10        Q. Do you think that you found out about
11   messages is that after this disaster happened      11   it for the first time when you looked at the
12   with Noah Leopold's heart, Dr. Villavicencio,      12   operative report?
13   understandably, was asking some questions to the   13        A. The details that I know are from the
14   people who transported the heart, and the          14   operative notes. But what I knew, I mean, is
15   impression I get is that either you or Dr. Knop    15   that there was a problem with the heart, but I
16   or both told Dr. Villavincencio that the           16   didn't know the details unless I read that from
17   lactates were bad. Okay? Do you have any           17   Dr. Villavicencio operative notes, the details.
18   recollection of doing anything remotely similar    18        Q. A number of these text messages refer
19   to that?                                           19   to the heart as not being the most robust on the
20       A. I -- I don't have any recall about          20   machine or not being a happy heart during the
21   that.                                              21   car rides. Is this the first you are hearing
22       Q. Okay. When did you find out that the        22   about anything like that?
23   heart, that you had brought from Idaho on this     23        A. I can't --
24   OCS machine, basically fell apart in Dr.           24          MR. BRANTINGHAM: Hang on one second.
25   Villavicencio's hands?                             25   I'll object to the foundation and also the


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 1   characterization --                                 1       Q. You read the operative report, and so
 2      A. Can you read me?                              2   you saw all the bad things that happened during
 3        MR. BRANTINGHAM: -- of the documents.          3   this attempted transplant; right?
 4                                                       4       A. I read the operative notes.
 5                                                       5       Q. And you told me before that you have
 6                                                       6   assisted on heart transplants before; right?
 7                                                       7       A. Right.
 8                                                       8       Q. Have you ever seen with your own eyes
 9                                                       9   anything happening like what Dr. Villavicencio
10                                                      10   was noting in his operative note?
11                                                      11       A. In the -- in the past, no.
12                                                      12       Q. Okay. Have you ever heard of anything
13                                                      13   like that happening?
14                                                      14       A. No.
15                                                      15       Q. So I presume that once you read the
16                                                      16   operative report, it was pretty striking to you.
17                                                      17       A. Strange.
18                                                      18       Q. Yeah. Did you ever have any
19                                                      19   conversations with Dr. Villavicencio, that you
20                                                      20   can remember, about this catastrophe?
21                                                      21       A. I can't recall exactly, you know, how
22                                                      22   was the discussion about this. I can't recall,
23                                                      23   you know. And myself as part --
24                                                      24          You know, I looked everywhere to see
25   hearing of this?                                   25   any explanation, you know, and no one had any


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 1       A. This heart donor -- donor heart was --       1   explanation, even in the literature. We went
 2       Q. Don't tell me about the heart donor.         2   ask everyone, no one knows.
 3       A. -- was the best.                             3       Q. You went and asked everyone. Who did
 4       Q. Just answer my questions.                    4   you ask?
 5         MR. BRANTINGHAM: Here's -- let's --           5       A. My colleagues.
 6         Here's an easy question. Have you ever        6       Q. I would like a list of all the people
 7   seen these text messages that he's reading to       7   that you went and asked --
 8   you?                                                8       A. I can't --
 9         THE WITNESS: No.                              9       Q. -- to try to get an explantation for
10         MR. BRANTINGHAM: Okay. So that helps         10   what happened here.
11   set some foundation here.                          11       A. I can't remember, but the first of them
12         MR. THOMPSON: Yep.                           12   is Dr. Gustavo Knop.
13       Q. Also though --                              13       Q. Okay.
14         MR. BRANTINGHAM: Go ahead.                   14       A. That's one of them.
15       Q. -- I assume that you had some               15       Q. Okay. Give me a list of every other
16   conversations about this whole catastrophe after   16   person you can think of that you talked to.
17   it happened. Set aside talking to Mr.              17   Because you said you talked to everyone, so I
18   Brantingham or people from Mayo Legal.             18   assume it's a pretty long list.
19       A. Like say it again. I mean --                19       A. I talked to people, you know, just --
20         MR. BRANTINGHAM: Hold on, just --            20         Gustavo Knop is -- is one of them.
21   doctor, hold on.                                   21       Q. Great. I want to know the others.
22       Q. Let me put it a different way.              22       A. I can't remember, you know.
23         MR. BRANTINGHAM: Ask it -- just ask a        23       Q. Give me one more.
24   question.                                          24         MR. BRANTINGHAM: Or just give him your
25         MR. THOMPSON: Yeah.                          25   memory. Okay? You don't have to give him one


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 1   more just because he wants it. If you can           1   into the room?
 2   remember other people you talked to --              2       A. I can't remember.
 3       A. I can't remember.                            3          MR. BRANTINGHAM: He doesn't remember.
 4       Q. Not a single other person.                   4       A. I can't remember.
 5       A. I can't remember exactly, you know, on       5       Q. You just can't remember one way or
 6   this particular one that I asked him about this.    6   another.
 7       Q. Do you recall, at least in general           7       A. Yes. Exactly.
 8   terms, having a conversation with Dr.               8          MR. THOMPSON: All right. Let's take a
 9   Villavicencio about this, even though you can't     9   short break. I think we are darn near close to
10   remember all the details?                          10   done here.
11       A. I can't remember.                           11          THE REPORTER: Off the record.
12       Q. You don't remember even like whether        12          (Recess taken from 12:18 p.m. to 12:24
13   there was a conversation?                          13          p.m.)
14       A. I can't recall that event, I mean in        14          THE VIDEOGRAPHER: We're on video.
15   particular, the conversation.                      15          THE REPORTER: We're on the record.
16       Q. Did you --                                  16   BY MR. THOMPSON:
17       A. Yes.                                        17       Q. When you bring the heart into the
18       Q. -- notice at any point in time during       18   operating room -- and I know you don't remember
19   this OCS run that the heart was not the most       19   for sure what happened in this case -- but in
20   robust on the machine?                             20   general, do you do any sort of hand-off
21       A. The heart from my, you know, from my        21   communication with the transplanting surgeon?
22   perspective was the best donor to take.            22       A. Yes.
23       Q. But that wasn't remotely close to my        23       Q. What is usually involved in that hand-
24   question. My question was: In all the time         24   off communication?
25   that you were with this heart --                   25       A. We usually tell the surgeon about any


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 1      A. I didn't --                                   1   event, you know, happened with us during -- you
 2      Q. Hold on.                                      2   know, again explaining more details if there is
 3          MR. BRANTINGHAM: Just let him ask the        3   any event happened, you know, --
 4   question, doctor. Yeah.                             4       Q. Okay.
 5      Q. Answer my question.                           5       A. -- and that's it.
 6      A. Sure.                                         6       Q. If you had noticed that the heart was
 7      Q. In all the time that you were with this       7   not looking robust in the way that's described
 8   heart in a clear box visually inspecting it as      8   in these text messages, presumably that would be
 9   you were supposed to do, did you ever notice        9   something that you would have passed along to
10   that it was not the most robust heart while it     10   Dr. Villavicencio?
11   was on the machine?                                11          MR. BRANTINGHAM: Just object to the
12      A. I did not notice that.                       12   form of the question and the foundation.
13      Q. And presumably, even though you say          13       A. Can you -- can you repeat the question
14   that you were available for them, neither Mr.      14   or explain it more?
15   Pick nor Ms. Fay, to your recollection, ever       15       Q. Yeah. So visual inspection of the way
16   told you, "Hey doctor, this is like not looking    16   the heart just looks as it's functioning is an
17   that good."                                        17   important part of the assessment.
18      A. I can't recall this.                         18       A. Right.
19      Q. Did you bring this heart into the            19       Q. And so would I be correct in assuming
20   operating room?                                    20   that if there was a change in the way the heart
21      A. Yes.                                         21   was appearing, you'd pass that along to the
22      Q. It was a long time ago so I don't            22   transplant surgeon?
23   remember if I got an answer to this question or    23       A. Of course.
24   not. Do you remember whether Mr. Leopold's         24       Q. Okay. Does the transplant surgeon
25   heart was explanted when you brought this heart    25   usually ask about the lactates during that


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 1   hand-off communication?                            1              CERTIFICATE
 2       A. This part of communication is passed to     2          I, Nicole A. Huber, hereby certify that
 3   the surgeon, whether he ask or it's passed to      3   I am qualified as a verbatim shorthand reporter;
 4   him, but usually he knows.                         4   that I took in stenographic shorthand the
 5       Q. Even if the lactates look okay, it's        5   testimony of SALAH ALTARABSHEH at the time and
 6   still communicated that, "Hey, we checked the      6   place aforesaid; and that the foregoing
 7   lactates and the lactates are looking good?"       7   transcript consisting of 211 pages is a true and
 8       A. Yeah. He will have an idea about the        8   correct, full and complete transcription of said
 9   lactates.                                          9   shorthand notes, to the best of my ability.
10       Q. The only re --                             10          Dated at Baxter, Minnesota, this 23rd
11          The only way he'd have an idea about       11   of August, 2024.
12   the lactate is if somebody tells him; right?      12
13       A. Right.                                     13
14       Q. And if there's no Wi-Fi on the plane,      14
15   then he either needs to be told about the         15
16   lactates on the phone when the heart is on the    16                   NICOLE A. HUBER
17   way to the hospital, or once you get there and    17                   Notary Public
18   actually do the hand-off of the heart; true?      18
19       A. In the airport.                            19
20       Q. At the airport.                            20
21       A. Before that.                               21
22       Q. Is that usually a phone call that you      22
23   make or that somebody else makes?                 23
24       A. The communication is passed either by      24
25   the surgeon or the technician or, you know, --    25


                                        Page 211                                                Page 213
 1      Q. Or the perfusionist.                        1            SIGNATURE PAGE
 2      A. -- one -- or perfusionist, I mean one       2       I, SALAH ALTARABSHEH, the deponent, hereby
 3   of us.                                            3    certify that I have read the foregoing
 4      Q. And as for how that communication           4    transcript, consisting of 211 pages, and that
 5   happened in this case, you just don't remember.   5    said transcript is a true and correct, full and
 6      A. I can't recall exactly.                     6    complete transcription of my deposition, except
 7         MR. THOMPSON: All right. I don't have       7    per the attached corrections, if any.
 8   any other questions.                              8    PAGE LINE CHANGE/REASON FOR CHANGE
 9         MR. BRANTINGHAM: I have no questions.       9    _____ _____ ___________________________________
10   We'll read and sign.                              10   _____ _____ ___________________________________
11         THE REPORTER: Okay. Thank you. Off          11   _____ _____ ___________________________________
12   the record.                                       12   _____ _____ ___________________________________
13         (Deposition concluded at 12:28 p.m.)        13   _____ _____ ___________________________________
14                                                     14   _____ _____ ___________________________________
15                                                     15   _____ _____ ___________________________________
16                                                     16   _____ _____ ___________________________________
17                                                     17   _____ _____ ___________________________________
18                                                     18   ____________ _________________________________
19                                                     19      Date          Signature of Witness
20                                                     20
21                                                     21           WITNESS MY HAND AND SEAL this _____
22                                                     22           day of _________________, 2024.
23                                                     23
24                                                     24   (NAH)     ___________________________________
25                                                     25



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a.m 1:20 3:4       accurate 14:18       104:13 123:17    Altar 129:13    80:5,6,7,16
  69:13,14 86:22     15:25 161:19       127:5 136:2      Altarabsheh     81:7,21 82:2,7
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